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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION


    THERAPEUTICSMD, INC.,
                                                      CASE NO. 9:20-cv-82296-RAR
                    Plaintiff,
                                                      FIRST AMENDED COMPLAINT
    v.

                                                      JURY TRIAL DEMANDED
    EVOFEM BIOSCIENCES, INC.,

                    Defendant.



            Plaintiff TherapeuticsMD, Inc. (“Plaintiff” or “TherapeuticsMD”), by and through its

   undersigned attorneys, brings this action against Defendant Evofem Biosciences, Inc.

   (“Defendant” or “Evofem”) for: (i) trademark infringement under 15 U.S.C. § 1114 of the Lanham

   Act; (ii) trademark infringement, unfair competition and false designation of origin under 15

   U.S.C. § 1125(a) the Lanham Act; (iii) deceptive and unfair trade practices under the Florida

   Deceptive and Unfair Trade Practices Act (“FDUTPA”) § 501.204, Florida Statutes; and (iv)

   common law trademark infringement and passing off. TherapeuticsMD also seeks a declaratory

   relief in the form of the cancellation of the U.S. trademark registration issued to Evofem.

                                               PARTIES

         1. Plaintiff TherapeuticsMD, Inc. is a corporation organized under the laws of Delaware with

   a principal place of business at 951 Yamato Road, Suite 220, Boca Raton, FL 33431.

         2. Upon information and belief, Defendant Evofem Biosciences, Inc. is a corporation

   organized under the laws of Delaware with a principal place of business at 12400 High Bluff Drive,

   Suite 600, San Diego, CA 92130 and authorized to do business in Florida.




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                                   JURISDICTION AND VENUE

      3. TherapeuticsMD brings this action for injunctive relief and damages arising out of the

   unauthorized, unfair, and deceptive trade practices of Evofem in connection with the commercial

   use and exploitation of trademarks, and the attempted trademark registration thereof, in violation

   of the Lanham Act.

      4. This action arises under the Lanham Act, 15 U.S.C. § 1051 et seq., including 15 U.S.C. §§

   1114, 1115 and 1125, and for deceptive and unfair trade practices and common law trademark

   infringement under the laws of the State of Florida.

      5. This Court has subject-matter jurisdiction over this action under 15 U.S.C. § 1121, as

   well as 28 U.S.C. §§ 1331, 1332, and 1338. This Court has supplemental subject-matter

   jurisdiction over all state-law claims, including claims arising under Florida’s trademark

   infringement and unfair competition laws, under 28 U.S.C. § 1367.

      6. This Court has personal jurisdiction over Evofem because it conducts business in Florida

   and this District by marketing, selling, distributing, and/or causing to be distributed infringing

   products, and committing acts of infringement and civil wrongs as alleged in this Complaint. For

   example, Evofem’s infringing products are available for purchase within this District at various

   pharmacies, including Publix Pharmacy, located at 4141 N. Federal Highway, Boca Raton, Florida

   33431. Attached as Exhibit A is a true and correct copy of a pharmacy receipt from a purchase

   made in this District (patient information redacted). Attached as Exhibit B is a true and correct

   copy of a prescribed Evofem infringing product bearing a prescription label from the Publix

   Pharmacy in this District (patient information redacted).

      7. Venue is proper in this District under 28 U.S.C. §§ 1391(b) because a substantial part of

   the events giving rise to the claims occurred in this District and Evofem is an entity subject to



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   personal jurisdiction in this District. Evofem has caused to be distributed, is offering to distribute

   infringing goods, and is distributing infringing goods within the State of Florida and in this District.

                                      FACTUAL BACKGROUND

   A. TherapeuticsMD and its IMVEXXY® Prescription Drug Product

      8. TherapeuticsMD is a women’s healthcare company committed to creating and

   commercializing innovative products to support women from pregnancy prevention through

   menopause. TherapeuticsMD has engaged in the promotion, advertising, distribution, and sale of

   a wide variety of products, utilizing one or more of its trademarks as a designation of the source

   of its goods.

      9. As a result of its research and development in the field of women’s healthcare products,

   TherapeuticsMD obtained marketing approval for several products from the U.S. Food and Drug

   Administration (“FDA”), including IMVEXXY®, which was approved by the FDA in May 2018

   for the treatment of moderate-to-severe dyspareunia (vaginal pain associated with sexual activity),

   a symptom of vulvar and vaginal atrophy, due to menopause.

      10. Since at least as early as July 23, 2018, TherapeuticsMD began marketing and selling

   pharmaceutical preparations bearing the IMVEXXY trademark in United States commerce.

   TherapueticsMD has used the IMVEXXY trademark on a regular and continuous basis in

   connection with pharmaceutical preparations throughout the United States and its territories. A

   sample image of the IMVEXXY product packaging appears below:




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      11. Among other things, the prescribing information (Exhibit C) for TherapeuticsMD’s

   IMVEXXY product instructs patients how to use the product, including, for example:

              •   “IMVEXXY® is a vaginal insert that you place in your vagina.”

              •   “IMVEXXY® is only for use in the vagina. Do not take IMVEXXY by mouth

                  (orally).”

              •   “Hold the IMVEXXY® insert with the larger end between your fingers.”

              •   “Select the best position for vaginal insertion that is most comfortable for you to

                  put in the IMVEXXY insert. See Figure C for suggested insertion in the lying down

                  position or Figure D for suggested insertion in the standing position. With the

                  smaller end up, put the insert about two inches into your vagina using your finger.”




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   B. TherapeuticsMD’s Trademark Rights in Its IMVEXXY® Mark

      12. In addition to its common law trademark rights throughout the United States and its

   territories, TherapeuticsMD is the owner of all right, title, and interest in and to the word mark

   IMVEXXY, U.S. Trademark Reg. No. 5,602,058, filed on February 7, 2017 and registered on

   November 6, 2018 (the “IMVEXXY mark”). See Certificate of Registration for IMVEXXY,

   Exhibit D.

      13. TherapeuticsMD’s trademark registration for the IMVEXXY mark is valid and subsisting.

   Moreover, under 15 U.S.C. § 1057(b), TherapeuticsMD’s certificate of registration for the

   IMVEXXY mark constitutes prima facie evidence of (i) the validity of the IMVEXXY mark and

   of the registration of the mark, (ii) TherapeuticsMD’s ownership of the mark, and (iii)

   TherapeuticsMD’s exclusive right to use the registered mark in commerce on or in connection

   with the goods specified in the registration. Under 15 U.S.C. § 1057(c), TherapeuticsMD’s

   trademark registration for the IMVEXXY mark also (i) constitutes constructive use of the mark

   nationwide as of its February 7, 2017 filing date on or in connection with the goods specified in


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   the registration, and (ii) confers a right of priority, nationwide, against subsequent user’s or

   applicants of the IMVEXXY mark, or marks confusingly similar thereto.

      14. TherapeuticsMD also has a dedicated official website for its IMVEXXY product,

   www.imvexxy.com, which it has owned and operated since at least December 8, 2016. See

   Exhibit E.

      15. Among other things, the IMVEXXY mark evokes a connotation of “sexy” in the context

   of women’s sexual and reproductive health.

      16. TherapeuticsMD has expended substantial amounts of money, time, and effort advertising

   and promoting its IMVEXXY mark.          The pharmaceutical industry, as well as prescribing

   physicians and consumers, associate TherapeuticsMD’s trademark with the company and

   understand that women’s pharmaceutical products bearing the IMVEXXY mark originate from

   TherapeuticsMD. TherapeuticsMD has also developed valuable goodwill with respect to its

   IMVEXXY mark through its continuous use in commerce.

   C. Evofem and its PHEXXI Prescription Drug Product

      17. According to Evofem’s Q2 2020 Form 10-Q public filing, it is a “commercial-stage

   biopharmaceutical company committed to developing and commercializing innovative products

   to address unmet needs in women’s sexual and reproductive health, including hormone-free,

   woman-controlled contraception and protection from certain sexually transmitted infections

   (STIs).”

      18. As described below, Evofem began using and filed trademark applications for the mark

   PHEXXI after TherapeuticsMD used and registered its IMVEXXY trademark.

      19. Among other things, the PHEXXI mark contains the suffix “EXXI,” and is pronounced

   with an “F” sound—for example, “pHantastic” (fantastic), “pHinally” (finally), and “pHabulous”



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   (fabulous)—according to Evofem’s promotional materials included in its website. A screen

   capture of the PHEXXI website (www.phexxi.com) is attached as Exhibit G and a patient

   brochure downloadable from the PHEXXI website is attached as Exhibit J.

      20. These similarities in appearance and sound not only present the risk that consumers will

   request the wrong drug and/or doctors will prescribe the wrong drug, but also the likelihood that

   pharmacists may dispense the wrong drug.

      21. Moreover, Evofem prominently emphasizes that the brand evokes connotations of sexy.

   Its CEO stated that “[PHEXXI] also rhymes with the sexy . . . ”—the same connotation as

   IMVEXXY—in an episode of a podcast related to health and fitness, entitled “The Future Of Birth

   Control, Sex, & Hormones With Evofem Biosciences CEO, Saundra Pelletier.” The podcast is

   available at https://podcasts.apple.com/us/podcast/future-birth-control-sex-hormones-evofem-

   biosciences/id1093028505?i=1000490442846 (7:02-7:19). EvoFem’s intentional connection to a

   “sexy” connotation is also evident from its website, as shown in Exhibit G (“Phexxi™ (pronounced

   FEX-ee, like sexy!)”).

      22. Thus, there is a likelihood of confusion because the PHEXXI mark is confusingly similar

   in appearance, sound, and overall connotation to the distinctive IMVEXXY trademark when used

   in connection with pharmaceutical drugs for women’s sexual and reproductive health.

      23. As a result, Evofem is attempting to usurp and misappropriate TherapeuticsMD’s

   reputation and goodwill in the IMVEXXY trademark for Evofem’s own pecuniary gain. And in

   the process, Evofem infringes TherapeuticsMD’s federal and common law rights in the

   IMVEXXY trademark.

      24. On information and belief, on or about September 8, 2020, Evofem began selling its

   product bearing a PHEXXI mark.



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      25. The PHEXXI product is a vaginal gel indicated for the prevention of pregnancy in females.

   A sample image of its product packaging appears below:




      26. Among other things, the prescribing information (Exhibit F) for PHEXXI instructs

   patients how to use the product, including, for example:

              •   “Step 5: Insert the PHEXXI Pre-filled Applicator into the Vagina”;

              •   “Gently insert the pre-filled applicator into the vagina as far as it will comfortably

                  go while you continue to hold it by the grooved area firmly. This can be done sitting

                  with your knees apart, lying on your back with your knees bent (see Figure F), or

                  while standing with your feet apart or knees bent”; and




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              •   “While the pre-filled applicator is inserted in your vagina, use your index finger to

                  push the plunger rod down until it stops.”

      27. Like the IMVEXXY prescribing information, the PHEXXI prescribing information, also

   states that it is “For Vaginal Use Only.” Compare ¶ 25 to ¶ 10, supra.

      28. Evofem also has a dedicated website for its PHEXXI product, www.phexxi.com, a domain

   name that Evofem registered on August 23, 2019. See Exhibits G and H.

      29. On August 28, 2019, Evofem filed trademark application No. 88/596,085 (“the ’085

   Application”) with the United States Patent and Trademark Office (“USPTO”) to register the mark

   “PHEXXI” in connection with “Personal lubricant; personal sexual lubricants; pharmaceutical

   preparations, namely, microbicidal that creates an inhospitable environment for spermatozoa;

   pharmaceutical preparations, namely, microbicidal that creates an inhospitable environment for

   viral and bacterial pathogens; pharmaceutical acid-buffering gel with bio adhesive properties

   designed to maintain an optimal environment.” The USPTO issued a “Notice of Allowance” to

   Evofem on February 18, 2020 and the mark subsequently registered as U.S. Registration No.

   6,201,656 (the ’656 Registration) on November 17, 2020. See Exhibit I.

      30. On May 11, 2020, Evofem filed trademark application 88/910,069 (“the ’069 Application”)

   with the USPTO to register a stylized design of the PHEXXI mark in connection with “Personal


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   lubricant; personal sexual lubricants; pharmaceutical preparations, namely, microbicidal that

   creates an inhospitable environment for spermatozoa; pharmaceutical preparations, namely,

   microbicidal that creates an inhospitable environment for viral and bacterial pathogens;

   pharmaceutical acid-buffering gel with bio adhesive properties designed to maintain an optimal

   environment.”

      31. On May 21, 2020, Evofem filed trademark application 88/927,879 (“the ’879 Application”)

   with the USPTO to register another stylized design of the PHEXXI mark in connection with

   “Personal lubricant; personal sexual lubricants; pharmaceutical preparations, namely, microbicidal

   that creates an inhospitable environment for spermatozoa; pharmaceutical preparations, namely,

   microbicidal that creates an inhospitable environment for viral and bacterial pathogens;

   pharmaceutical acid-buffering gel with bio adhesive properties designed to maintain an optimal

   environment.”

      32. The previously alleged trademark applications filed by Evofem are collectively referred to

   as “the Evofem Applications.”

      33. Evofem also filed, without TherapeuticsMD’s authorization, foreign counterparts for the

   alleged PHEXXI mark in numerous jurisdictions.

      34. On or about May 28, 2020, TherapeuticsMD contacted Evofem to discuss

   TherapeuticsMD’s concerns regarding the likelihood of confusion between the IMVEXXY mark

   and the PHEXXI marks in connection with pharmaceutical drugs for women’s sexual and

   reproductive health. Evofem chose not to withdraw its proposed trademark applications and

   subsequently commercially launched its product under the PHEXXI mark.

      35. Despite being put on notice of the likelihood of confusion, on September 8, 2020, Evofem

   filed a Statement of Use in connection with the ’085 Application, wherein it, among other things,



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   alleged a date of first use of the PHEXXI mark in commerce on September 8, 2020. The ’085

   application subsequently matured into the ’656 Registration. At no time during the prosecution of

   the ’085 Application, or any of the other Evofem Applications, did Evofem inform the USPTO of

   TherapeuticsMD’s IMVEXXY registration.

      36. Evofem’s ’069 Application and ’879 Application were published for opposition on

   September 15, 2020.

      37. On October 14, 2020, TherapeuticsMD timely filed a 30-day request for extension of time

   to oppose the ’069 Application and the ’879 Application, respectively, at the Trademark Trial and

   Appeal Board (“TTAB”). On November 13, 2020 TherapeuticsMD timely filed a 60-day request

   for extension of time to oppose the ’069 Application and the ’879 Application. Both requests were

   granted by the TTAB.

      38. There is a strong likelihood of consumer confusion stemming from Evofem’s unauthorized

   and willful infringement of TherapeuticsMD’s IMVEXXY mark.

      39. The alleged PHEXXI mark used, sought to be registered, and registered by Evofem, is

   substantially similar in appearance, sound, commercial impression and meaning to the IMVEXXY

   mark, and/or is confusingly similar to the IMVEXXY mark, such that the use and registration

   thereof is likely to cause confusion, mistake and/or deception as to the source of origin,

   sponsorship, and/or association of Evofem’s goods and services, and will injure and damage

   TherapeuticsMD and the goodwill and reputation symbolized by the IMVEXXY mark.

      40. The goods bearing the alleged PHEXXI mark, and as set forth in Evofem’s trademark

   applications, are closely related to the goods in connection with which TherapeuticsMD uses its

   IMVEXXY mark, such that the consuming public is likely to be confused, to be deceived, and to

   assume erroneously (i) that Evofem’s goods are those of TherapeuticsMD, (ii) that Evofem has



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   been licensed to use the IMVEXXY mark by TherapeuticsMD, and/or (iii) that Evofem is in some

   way connected with, sponsored by, or affiliated with TherapeuticsMD.

       41. Such goods would reasonably be expected by the industry and the purchasing public to

   emanate from or be sponsored by the same source.

       42. On information and belief, Evofem’s goods bearing the alleged PHEXXI mark are and/or

   may be sold through the same and/or similar channels of trade, prescribed by the same physicians,

   nurse practitioners and other prescribers, dispensed from the same pharmacies, and/or prescribed

   to the same class of patients, in and to which TherapeuticsMD’s prescription drug product is

   marketed and/or sold in connection with the IMVEXXY mark.

       43. On information and belief, Evofem’s goods bearing the alleged PHEXXI mark are and/or

   may be prescribed by the same health care professionals, general OB/GYN physicians, and/or

   nurse practitioners, as the goods bearing TherapeuticsMD’s IMVEXXY mark.

       44. At no time has Evofem requested or received TherapeuticsMD’s permission to use and/or

   register the alleged PHEXXI mark.

       45. Evofem knew or should have known of TherapeuticsMD’s prior trademark rights.

       46. Nevertheless, Evofem infringed TherapeuticsMD’s trademark rights despite its awareness

   of TherapeuticsMD’s superior trademark rights by adopting for use, using, and registering a

   confusingly similar mark.

       47. TherapeuticsMD is being irreparably harmed by Evofem’s registration and infringing

   activity.




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                                               COUNT I

                     (Federal Trademark Infringement Under 15 U.S.C. § 1114)

      48. TherapeuticsMD realleges the allegations in paragraphs 1 through 47 of the Complaint as

   though fully set forth herein.

      49. TherapeuticsMD owns U.S. Registration No. 5,602,058 for the IMVEXXY mark.

      50. Evofem has engaged in, and continues to engage in, the wrongful exploitation of the

   PHEXXI marks in a manner that is confusingly similar to TherapeuticsMD’s registered

   IMVEXXY mark.

      51. Evofem adopted, used, sought to register, and registered the PHEXXI mark, which is

   substantially similar in appearance, sound, commercial impression and meaning to the IMVEXXY

   mark, and/or is confusingly similar to the IMVEXXY mark, such that the use and registration

   thereof is likely to cause confusion, mistake and/or deception as to the source of origin,

   sponsorship, and/or association of Evofem’s goods and services, and will injure and damage

   TherapeuticsMD and the goodwill and reputation symbolized by IMVEXXY mark.

      52. Evofem is not affiliated with, connected with, endorsed by, or sponsored by

   TherapeuticsMD, nor has TherapeuticsMD approved or authorized any of the goods offered or

   sold by Evofem.

      53. None of Evofem’s activities complained of in this Complaint has been authorized by

   TherapeuticsMD, and such unauthorized use, which substantially affects interstate commerce in

   this District, and elsewhere throughout the United States, constitutes trademark infringement under

   15 U.S.C. § 1114.




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       54. Upon information and belief, such use of the alleged PHEXXI mark is knowing and willful,

   and with the intent to cause confusion, deceive consumers, and trade off the goodwill established

   by TherapeuticsMD in its IMVEXXY mark, all for Evofem’s own pecuniary gain.

       55. Unless the Court permanently enjoins Evofem’s conduct alleged in this complaint,

   TherapeuticsMD’s business, goodwill, and reputation will suffer irreparable harm for which there

   is no adequate remedy at law. Therefore, TherapeuticsMD is entitled to injunctive relief.

       56. There is a significant public interest in granting injunctive relief to avoid, among other

   things, the possibility of medical errors that may result from prescribing or dispensing a PHEXXI

   product when a patient needs an IMVEXXY product. Such erroneous prescription or dispensing

   can result in a patient intending to prevent pregnancy using a drug to relieve pain during intercourse

   or a patient intended to relieve pain during intercourse using a contraceptive and attributing the

   lack of effectiveness to the IMVEXXY product, causing irreparable harm to TherapeuticsMD.

       57. In addition to being entitled to injunctive relief, by reason of the foregoing,

   TherapeuticsMD is entitled to recover any damages proven, after trial, to have been caused by

   reason of Evofem’s aforesaid acts of trademark infringement, together with all other remedies

   available under the Lanham Act, including, but not limited to disgorgement of Evofem’s profits

   and the costs of this action.

       58. Evofem’s above-mentioned acts and conduct were, and are, being done in an intentional,

   willful, malicious, and oppressive manner in conscious disregard of TherapeuticsMD’s rights

   making this an exceptional case under 15 U.S.C. § 1117(a). TherapeuticsMD is therefore entitled

   to an award of treble damages and/or a trebling of Evofem’s profits, as well as reimbursement of

   its attorney’s fees.




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                                               COUNT II

         (Unfair Competition and False Designation of Origin Under 15 U.S.C. § 1125(a))

      59. TherapeuticsMD realleges the allegations in paragraphs 1 through 47 of the Complaint as

   though fully set forth herein.

      60. Evofem’s unauthorized use in commerce of words, terms, names, symbols, or devices, or

   any combination thereof, consisting of or including the confusingly similar designation PHEXXI

   and/or derivatives thereof, is likely to cause confusion, or to cause mistake, or to deceive as to the

   affiliation, connection, or association of Evofem with TherapeuticsMD.

      61. Evofem’s unauthorized use of the PHEXXI mark is likely to cause confusion, or to cause

   mistake, or to deceive as to the affiliation, connection, or association of Evofem with

   TherapeuticsMD, or as to the origin, sponsorship, or approval of Evofem’s goods or commercial

   activities by TherapeuticsMD.

      62. Evofem is not affiliated with, connected with, endorsed by, or sponsored by

   TherapeuticsMD, nor has TherapeuticsMD approved or authorized any of the goods offered or

   sold by Evofem.

      63. TherapeuticsMD has no control over the nature and quality of the goods and services

   offered and sold by Evofem. Any failure, neglect, or default by Evofem in providing such products

   will reflect adversely on TherapeuticsMD as being the believed source of such failure, neglect, or

   default, thereby hampering TherapeuticsMD’s efforts to continue to protect its reputation and

   preventing TherapeuticsMD from further building its reputation. Such failure, neglect, or default

   will result in loss of revenue by TherapeuticsMD, and loss of value of TherapeuticsMD’s

   considerable expenditures to promote its goods and services under its federal and common law




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   rights in the IMVEXXY trademark, all of which have caused, and will continue to cause

   irreparable harm to TherapeuticsMD.

       64. None of Evofem’s activities complained of in this complaint has been authorized by

   TherapeuticsMD, and such unauthorized use, which substantially affects interstate commerce in

   this District, and elsewhere throughout the United States, constitutes a violation 15 U.S.C. §

   1125(a).

       65. Unless the Court permanently enjoins Evofem’s conduct alleged in this complaint,

   TherapeuticsMD’s business, goodwill, and reputation will suffer irreparable harm for which there

   is no adequate remedy at law. Therefore, TherapeuticsMD is entitled to injunctive relief.

       66. In addition to being entitled to injunctive relief, by reason of the foregoing,

   TherapeuticsMD is entitled to recover any damages proven, after trial, to have been caused by

   reason of Evofem’s aforesaid acts of trademark infringement, together with all other remedies

   available under the Lanham Act, including, but not limited to disgorgement of Evofem’s profits

   and the costs of this action.

       67. Evofem’s above-mentioned acts and conduct were, and are, being done in an intentional,

   willful, malicious, and oppressive manner in conscious disregard of TherapeuticsMD’s rights

   making this an exceptional case under 15 U.S.C. § 1117(a). TherapeuticsMD is therefore entitled

   to an award of treble damages and/or a trebling of Evofem’s profits, as well as reimbursement of

   its attorney’s fees.

                                             COUNT III

    (Florida Deceptive & Unfair Trade Practices Act (“FDUTPA”), § 501.201 et seq., Fla. Stat.)

       68. TherapeuticsMD realleges the allegations in paragraphs 1 through 47 of the Complaint as

   though fully set forth herein.



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       69. Evofem was, at all times material to the allegations herein, engaged in “trade or

   commerce.” § 501.203, Fla. Stat. (2020).

       70. By its infringing conduct, Evofem has engaged in unfair competition, and/or unfair or

   deceptive acts or practices, under the Florida Deceptive and Unfair Trade Practices Act § 501.201

   et seq, Florida Statutes.

       71. Evofem’s engagement in (i) infringing TherapeuticsMD’s IMVEXXY mark, (ii)

   intentionally adopting and extensively using PHEXXI in commerce in connection with

   pharmaceutical preparations for women’s sexual and reproductive health, and (iii) otherwise

   committing the acts set forth in this Complaint, is likely to lead to consumer confusion.

       72. Specifically, Evofem has adopted for use and registration a mark that is confusingly similar

   to TherapeuticsMD’s IMVEXXY mark for use in connection with similar and/or related goods

   and services.

       73. Evofem’s use of the PHEXXI mark in this manner is a deliberate attempt, by Evofem, (i)

   to usurp and misappropriate TherapeuticsMD’s reputation and goodwill in the IMVEXXY mark;

   and (ii) to mislead consumers away from TherapeuticsMD’s IMVEXXY products to Evofem’s

   PHEXXI products, all for Evofem’s own pecuniary gain.

       74. Evofem has caused TherapeuticsMD to be aggrieved by such deceptive acts or practices,

   for which there is no adequate remedy at law, and TherapeuticsMD will continue to be damaged

   by Evofem’s actions unless this Court enjoins Evofem from such unfair business practices.

       75. The above-mentioned acts were done in an intentional, willful, malicious, and oppressive

   manner in conscious disregard of TherapeuticsMD’s rights. Accordingly, TherapeuticsMD is

   entitled to recover profits, damages, and attorney’s fees under the Florida Deceptive and Unfair

   Practices Act §§ 501.201-213, Florida Statutes.



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                                              COUNT IV

                     (Common Law Trademark Infringement and Passing Off)

      76. TherapeuticsMD realleges the allegations in paragraphs 1 through 47 of the Complaint as

   though fully set forth herein.

      77. TherapeuticsMD first adopted and used the IMVEXXY mark in connection with

   pharmaceutical preparations for women’s sexual and reproductive health, as a means of

   establishing goodwill and reputation and to describe, identify, or denominate particular

   prescription drugs sold by it and to distinguish them from similar goods marketed by others.

      78. Through its association with such prescription drugs, the IMVEXXY mark has acquired a

   special significance as the name of the goods marketed by TherapeuticsMD for women’s sexual

   and reproductive health because TherapeuticsMD’s IMVEXXY mark is inherently distinctive.

      79. Evofem has commenced the use of a confusingly similar PHEXXI mark to indicate or

   identify similar goods (for women’s sexual and reproductive health) that are marketed by it in

   competition with TherapeuticsMD in the same industry in which TherapeuticsMD has already

   established its IMVEXXY mark.

      80. As a consequence of Evofem’s action, consumer confusion of source or as to the

   sponsorship of the prescription drugs offered, or to be offered, by Evofem is likely or inevitable.

      81. Evofem’s conduct, as described above, constitutes common law trademark infringement

   and passing off in violation of the common law of the State of Florida.

      82. TherapeuticsMD does not have an adequate remedy at law and will continue to be damaged

   by Evofem’s actions unless this Court enjoins Evofem from such conduct.




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                                              COUNT V

         (Cancellation of Trademark Registration No. 6,201,656 Under 15 U.S.C. § 1119)

      83. TherapeuticsMD realleges the allegations in paragraphs 1 through 47 of the Complaint as

   though fully set forth herein.

      84. TherapeuticsMD’s use of the IMVEXXY mark predates Evofem’s ’656 Registration in

   connection with the infringing PHEXXI mark used in connection with “Personal lubricant;

   personal sexual lubricants; pharmaceutical preparations, namely, microbicidal that creates an

   inhospitable environment for spermatozoa; pharmaceutical preparations, namely, microbicidal that

   creates an inhospitable environment for viral and bacterial pathogens; pharmaceutical acid-

   buffering gel with bio adhesive properties designed to maintain an optimal environment.”

      85. By virtue of such earlier use, TherapeuticsMD’s rights in the IMVEXXY Mark has priority

   over the mark in the ’656 Registration.

      86. Thus, the ’656 Registration for the alleged PHEXXI mark should be cancelled.

      87. Further, Evofem’s registration and use of the infringing PHEXXI mark is likely to cause

   confusion, mistake, or to deceive as to an affiliation, connection, or association between Evofem

   and/or Evofem’s goods, on the one hand, and TherapeuticsMD and the IMVEXXY mark in

   connection with similar and/or related goods, on the other hand, or as to the origin, sponsorship,

   or approval of Evofem’s goods by TherapeuticsMD.

      88. Because the alleged PHEXXI mark is confusingly similar to the IMVEXXY mark, and in

   light of the relatedness of the goods at issue, Evofem’s alleged mark falsely suggests a connection

   with TherapeuticsMD and/or may mislead consumers of Evofem’s and/or TherapeuticsMD’s

   goods, and/or the public in general, into believing that Evofem’s goods are sold by, emanate from,

   and/or in some way, directly or indirectly, are associated with TherapeuticsMD, and/or the



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   IMVEXXY mark, goods, and/or business, or vice versa, to the damage and detriment of

   TherapeuticsMD.

      89. Evofem’s alleged PHEXXI mark also “so resembles a mark registered in the Patent and

   Trademark Office, or a mark . . . previously used in the United States and not abandoned, as to be

   likely, when applied to the goods of the applicant, to cause confusion, or to cause mistake, or to

   deceive.” 15 U.S.C § 1052(d).

      90. TherapeuticsMD is being and will continue to be damaged by the registration of the

   infringing PHEXXI mark unless this Court declares that the Registration No. 6,201,656 was

   improperly issued by the USPTO and acts to cancel Registration No. 6,201,656 in accordance with

   15 U.S.C. § 1119.

                                             COUNT VI

         (Cancellation of Trademark Registration No. 6,201,656 – Fraud on the USPTO)

      91.   TherapeuticsMD realleges the allegations in paragraphs 1 through 47 of the Complaint

   as though fully set forth herein.

      92.   On August 28, 2019, Evofem, with assistance from its outside counsel (Evofem’s

   “Counsel of Record”), electronically filed the ’085 Application with the USPTO for the mark

   PHEXXI in connection with, among other things, “pharmaceutical preparations, namely,

   microbicidal that creates an inhospitable environment for viral and bacterial pathogens.”

      93.   On September 8, 2020, Evofem with the assistance of its Counsel of Record,

   electronically filed a Statement of Use with the USPTO alleging that the PHEXXI “mark is in use

   in commerce on or in connection with all of the goods” and that “the mark was first used by the

   applicant . . . at least as early as 09/08/2020, and first used in commerce at least as early as

   09/08/2020, and is now in use in such commerce.”



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      94.     On information and belief, Evofem’s Counsel of Record drafted the Statement of Use.

      95.     Evofem’s Vice President & Deputy General Counsel (“VPDGC”), who works out of

   Evofem’s corporate office in San Diego, signed the Statement of Use on 09/08/2020 on Evofem’s

   behalf. A true and correct copy of Evofem’s Statement of Use is attached as Exhibit K.

      96.     The Statement of Use contains a standard declaration as to the truth of the statements in

   the Statement of Use, as well as a warning that “willful false statements and the like are punishable

   by fine or imprisonment, or both, under 18 U.S.C. § 1001, and that such willful false statements

   and the like may jeopardize the validity of the application or submission or any registration

   resulting therefrom.”

      97.     At the time Evofem filed the Statement of Use, Evofem was not using and had never used

   the PHEXXI Mark in commerce in connection with all of the goods described in the ’085

   Application, including “pharmaceutical preparations, namely, microbicidal that creates an

   inhospitable environment for viral and bacterial pathogens” (collectively “the Falsely Claimed

   Goods”).

      98.     At the time Evofem filed the Statement of Use, the FDA had only approved Evofem to

   market a drug bearing the PHEXXI Mark for use as a “vaginal gel for the prevention of pregnancy

   in females of reproductive potential for use as an on-demand method of contraception” (“Evofem’s

   Approved Drug”). A copy of the FDA approval letter is attached as Exhibit L.

      99.     Evofem did not and currently does not have the approval from the FDA to market and

   sell Evofem’s Approved Drug bearing the PHEXXI Mark for the Falsely Claimed Goods.

      100. Evofem’s VPDGC knew that Evofem was not using and had never used the PHEXXI

   Mark in commerce in connection with the Falsely Claimed Goods and knew that Evofem had not

   obtained FDA approval to market the Falsely Claimed Goods under the PHEXXI Mark.



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      101. Although Evofem had not used and could not lawfully use the PHEXXI Mark in

   connection with the Falsely Claimed Goods, Evofem’s Counsel of Record prepared and filed, and

   Evofem’s VPDGC nevertheless signed, the Statement of Use declaring, among other things that

   “the [PHEXXI] mark is in use in commerce on or in connection with all the goods . . . in the

   application or notice of allowance, or as subsequently modified.” See Exhibit L (emphasis added).

      102. Because Evofem had not used and could not lawfully use the PHEXXI Mark in

   connection with the Falsely Claimed Goods, the VPDGC’s and Evofem’s declaration regarding

   use of the PHEXXI Mark in commerce for all the goods was false.

      103. Had the VPDGC not made and filed this false declaration, Evofem would not have

   received a Certificate of Registration for the PHEXXI Mark that included the Falsely Claimed

   Goods.

      104. Accordingly, the false statement included in the Statement of Use was material to the

   registrability of the PHEXXI Mark.

      105. Evofem’s VPDGC’s false statement was made with knowledge of the falsity of the

   representation and with intent to deceive the USPTO.

      106. Evofem’s VPDGC submitted the false statements as to the use of the PHEXXI Mark on

   the Falsely Claimed Goods in commerce and the first use date of the mark with the intent to procure

   a registration to which Evofem is not entitled.

      107. For example, Evofem and its VPDGC knew the indication for which the FDA had

   approved Evofem’s Approved Drug under the PHEXXI mark.

      108. Evofem and its VPDGC knew that it could not market a drug under the PHEXXI Mark

   for an indication for which the FDA had not approved.




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      109. The intent of Evofem’s VPDGC to submit a false declaration is further evidenced by the

   nature of the specimen submitted in support of the Statement of Use.

      110. The September 8, 2020 Statement of Use included the declaration that “[t]he specimen(s)

   shows the mark as used on or in connection with the goods . . . in commerce.”

      111. Evofem’s September 8, 2020 Statement of Use included a specimen (reproduced below),

   which is described as “Product picture / packaging.” Only the top view and the right-side view of

   Evofem’s Approved Drug product packaging was included as the specimen.




      112. But absent from VPDGC’s submission was the back side of Evofem’s Approved Drug

   product packaging, which explicitly states that “Phexxi™ does not protect against HIV infection

   (AIDS) and other sexually transmitted diseases.”

      113. A picture of the back side of Evofem’s product packaging is reproduced below with

   annotation identifying the relevant disclaimer.




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      114. Similarly, the prescribing information for Evofem’s Approved Drug product, which is

   provided inside Evofem’s product packaging, explicitly states that “PHEXXI does not protect

   against HIV infection and other sexually transmitted diseases.” A copy of Evofem’s prescribing

   information is attached as Exhibit F.

      115. The product packaging and the prescribing information both state that “PHEXXI does

   not protect against HIV [(AIDS)] infection and other sexually transmitted diseases.” Likewise,

   Evofem’s website repeatedly includes a similar disclaimer: “Phexxi does not protect against

   sexually transmitted infections, including HIV.”

      116. Evofem’s VPDGC knew of these statements.

      117. Evofem’s VPDGC knew that the statements on the product packaging and in the

   prescribing information contradicted his statement of use in commerce of the PHEXXI Mark in

   connection with “pharmaceutical preparations, namely, microbicidal that creates an inhospitable

   environment for viral and bacterial pathogens.”




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      118. Even though the product packaging, prescribing information, and website for Evofem’s

   Approved Drug disclaims use for protection against HIV and sexually transmitted diseases,

   which are typically caused by bacterial and viral pathogens, Evofem’s VPDGC omitted this

   information from the Statement of Use and did not disclose this material information to the

   USPTO. Nor did Evofem’s VPDGC disclose the back side of Evofem’s product packaging as

   part of the submitted specimen.

      119. Upon information and belief, Evofem’s VPDGC deliberately concealed such

   information from the USPTO and excluded the explicit material disclaimer on the product

   packaging to prevent the Examining Attorney from questioning the sufficiency of the specimen

   to show use in commerce of the PHEXXI Mark on “pharmaceutical preparations, namely,

   microbicidal that creates an inhospitable environment for viral and bacterial pathogens” and

   requesting additional specimen(s) or information.

      120. Such an objection and request from the USPTO would have exposed the falsity of the

   statements included in VPDGC’s statement of use and Evofem’s Registration would not have

   issued. The USPTO relied on VPDGC’s false and material statement of use in issuing Evofem’s

   Registration. But for Evofem’s false and material statement of use, Evofem’s Registration

   would not have issued.

      121. For the reasons discussed above, Evofem’s VPDGC committed fraud in the

   procurement of Evofem’s ’656 Registration or during the prosecution of the ’085 Application for

   the PHEXXI Mark.

      122. TherapeuticsMD is being and will continue to be damaged by the registration of the

   PHEXXI mark, and Evofem will continue to enjoy unlawful gain and advantage to which it is not

   entitled under the Lanham Act, 15 U.S.C. §§ 1051, et seq., unless this Court declares that the ’656



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   Registration was improperly issued by the USPTO and acts to cancel it in accordance with 15

   U.S.C. § 1119.

                                       PRAYER FOR RELIEF

      WHEREFORE, Plaintiff TherapeuticsMD respectfully prays for judgment as follows:

      A. That the Court adjudge and decree that Evofem has, without the consent of

   TherapeuticsMD, used in commerce a colorable imitation of the IMVEXXY mark in connection

   with the sale, offering for sale, distribution, and advertising of goods in connection with which

   such use is likely to cause confusion, or to cause mistake, or to deceive in violation of 15 U.S.C.

   § 1114.

      B. That the Court adjudge and decree that Evofem has falsely designated the origin of certain

   goods and services as those of TherapeuticsMD, has made and used false representations in

   connection with the sale, offering for sale, promotion and advertising of such goods and services,

   and has unfairly competed with TherapeuticsMD at common law.

      C. That the Court, under 15 U.S.C. § 1116(a) and Florida law, permanently enjoin Evofem,

   its agents, servants, employees, attorneys, and all persons acting in concert or participation with

   them, or with any of them from:

          a.        Using, registering, or applying to register PHEXXI, or any other word or words

   which are identical and/or confusingly similar to TherapeuticsMD’s IMVEXXY mark, either

   alone, as part of, or together with, any other word or words, trademark, service mark, trade name,

   domain name or other business or commercial designation in connection with the sale, offering for

   sale, advertising, promotion and/or distribution of pharmaceutical preparations for women’s sexual

   and reproductive health;




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          b.      Selling, offering to sell, marketing, distributing, advertising and/or promoting any

   pharmaceutical drug for women’s sexual and reproductive health with the word PHEXXI

   displayed on such product, packaging, advertising or promotional materials;

          c.      Otherwise infringing the IMVEXXY mark;

          d.      Engaging in actions that constitute unfair competition and/or false designation of

   origin; and

          e.      Engaging in deceptive or unfair trade practices in violation of the Florida Deceptive

   and Unfair Trade Practices Act, F.S.A. 501.201 et seq.

      D. That the Court issue an order, under 15 U.S.C. § 1116(a) and Florida law, ordering Evofem

   to abandon the Evofem Applications and all foreign counterparts.

      E. That the Court issue an order, under 15 U.S.C. § 1119, ordering the cancellation of

   Evofem’s U.S. Registration No. 6,201,656, and certifying such order to the Director of the USPTO

   make appropriate entry upon the Office records and effect such cancellation.

      F. That the Court issue an order, under 15 U.S.C. § 1118, ordering Evofem to deliver up for

   destruction all labels, signs, prints, packages, promotions, wrappers, receptacles, advertisements,

   and all other materials in its possession or under its control bearing the infringing PHEXXI mark.

      G. That the Court issue an order requiring Evofem to account for all gains, profits, and

   advantages derived from its acts of trademark infringement.

      H. That the Court award TherapeuticsMD: (i) all of Evofem’s profits, gains, and advantages

   derived from the unauthorized use of the IMVEXXY mark or any confusingly similar mark, and

   that such sums be trebled; (ii) all damages sustained by TherapeuticsMD by reason of Evofem’s

   acts of trademark infringement and unfair competition, including amounts necessary for

   prospective corrective advertising, and that such damages be trebled; (iii) exemplary and punitive



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   damages as the court finds appropriate to deter any future willful conduct; and (iv) interest,

   including prejudgment interest, on the foregoing sums.

      I. That the Court issue an order declaring this case exceptional under 15 U.S.C. § 1117(a).

      J. That the Court award all costs and reasonable attorney fees.

      K. That the Court award such other and further relief as this Court deems appropriate.




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                                      DEMAND FOR JURY TRIAL

           In accordance with Federal Rule of Civil Procedure 38(b), TherapeuticsMD demands a

   jury trial on all issues triable by a jury.


   Dated: June 7, 2021

                                                 Respectfully submitted,

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                                                 Suite 1100
                                                 West Palm Beach, FL 33401
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                                                 THERAPEUTICSMD, INC.


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                                             Exhibit A
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                                             Exhibit B
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                                           Exhibit C
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HIGHLIGHTS OF PRESCRIBING INFORMATION                                              _____________ DOSAGE FORMS AND STRENGTHS ______________
These highlights do not include all the information needed to use                 IMVEXXY vaginal inserts contain 4 mcg or 10 mcg estradiol. (3)
IMVEXXY safely and effectively. See full prescribing information for
IMVEXXY.                                                                          ___________________ CONTRAINDICATIONS ___________________
                                                                                  •     Undiagnosed abnormal genital bleeding (4)
                                                                                  •     Known, suspected, or history of breast cancer (4, 5.3)
IMVEXXY® (estradiol vaginal inserts)
                                                                                  •     Known or suspected estrogen-dependent neoplasia (4, 5.3)
Initial U.S. Approval: 1975
                                                                                  •     Active DVT, PE, or history of these conditions (4, 5.2)
                                                                                  •     Active arterial thromboembolic disease (for example, stroke and MI), or
    WARNING: ENDOMETRIAL CANCER, CARDIOVASCULAR
                                                                                        a history of these conditions (4, 5.2)
    DISORDERS, BREAST CANCER and PROBABLE DEMENTIA                                •     Known anaphylactic reaction or angioedema with IMVEXXY (4)
                                                                                  •     Known liver impairment or disease (4, 5.11)
       See full prescribing information for complete boxed warning.               •     Known protein C, protein S, or antithrombin deficiency, or other known
                                                                                        thrombophilic disorders (4)
 Estrogen-Alone Therapy
  There is an increased risk of endometrial cancer in a woman with a             _______________ WARNINGS AND PRECAUTIONS _______________
   uterus who uses unopposed estrogens (5.3)                                      •     Estrogens increase the risk of gallbladder disease (5.5)
  Estrogen-alone therapy should not be used for the prevention of                •     Discontinue estrogen if severe hypercalcemia, loss of vision, severe
   cardiovascular disease or dementia (5.2, 5.4)                                        hypertriglyceridemia, or cholestatic jaundice occurs (5.6, 5.7, 5.10, 5.11)
  The Women’s Health Initiative (WHI) estrogen-alone substudy                    •     Monitor thyroid function in women on thyroid replacement hormone
   reported increased risks of stroke and deep vein thrombosis (DVT)                    therapy (5.12, 5.19)
   (5.2)
  The WHI Memory Study (WHIMS) estrogen-alone ancillary study                     ___________________ ADVERSE REACTIONS ___________________
   of WHI reported an increased risk of probable dementia in                      In a single, prospective, randomized, placebo-controlled, double-blind trial,
   postmenopausal women 65 years of age and older (5.4)                           the most common adverse reaction with IMVEXXY (incidence ≥3 percent
 Estrogen Plus Progestin Therapy                                                  and greater than placebo) was headache. (6.1)
  Estrogen plus progestin therapy should not be used for the
   prevention of cardiovascular disease or dementia (5.2, 5.4)                    To report SUSPECTED ADVERSE REACTIONS, contact
  The WHI estrogen plus progestin substudy reported increased risks              TherapeuticsMD, Inc. at 1-888-228-0150 or FDA at 1-800-FDA-1088 or
   of stroke, DVT, pulmonary embolism (PE) and myocardial                         www.fda.gov/medwatch.
   infarction (MI) (5.2)
  The WHI estrogen plus progestin substudy reported increased risks               ___________________ DRUG INTERACTIONS____________________
   of invasive breast cancer (5.3)                                                Inducers and inhibitors of CYP3A4 may affect estrogen drug metabolism and
  The WHIMS estrogen plus progestin ancillary study of WHI                       decrease or increase the estrogen plasma concentration (7.1)
   reported an increased risk of probable dementia in postmenopausal
                                                                                  ______________ USE IN SPECIFIC POPULATIONS _______________
   women 65 years of age and older (5.4)
                                                                                  •   Geriatric use: An increased risk of probable dementia in women over 65
__________________ INDICATIONS AND USAGE _________________                            years of age was reported in the Women’s Health Initiative Memory
IMVEXXY is an estrogen indicated for the treatment of moderate to severe              ancillary studies of the Women’s Health Initiative (5.4, 8.5)
dyspareunia, a symptom of vulvar and vaginal atrophy, due to menopause. (1)
                                                                                  See 17 for PATIENT COUNSELING INFORMATION and FDA-
_______________DOSAGE AND ADMINISTRATION ______________                           approved patient labeling
IMVEXXY should be administered intravaginally:                                                                               Revised: 11/2019
1 vaginal insert daily for 2 weeks, followed by 1 insert twice weekly (for
example, Monday and Thursday). (2.1)


FULL PRESCRIBING INFORMATION: CONTENTS*

WARNING: ENDOMETRIAL CANCER, CARDIOVASCULAR                                            5.14 Hypocalcemia
DISORDERS, BREAST CANCER AND PROBABLE DEMENTIA                                         5.15 Exacerbation of Endometriosis
1 INDICATIONS AND USAGE                                                                5.16 Hereditary Angioedema
   1.1 Treatment of Moderate to Severe Dyspareunia, a Symptom of                       5.17 Exacerbation of Other Conditions
        Vulvar and Vaginal Atrophy, Due to Menopause                                   5.18 Laboratory Tests
2 DOSAGE AND ADMINISTRATION                                                            5.19 Drug Laboratory Test Interactions
   2.1 Treatment of Moderate to Severe Dyspareunia, a Symptom of                  6    ADVERSE REACTIONS
        Vulvar and Vaginal Atrophy, Due to Menopause                                   6.1 Clinical Trials Experience
3 DOSAGE FORMS AND STRENGTHS                                                           6.2 Postmarketing Experience
4 CONTRAINDICATIONS                                                               7    DRUG INTERACTIONS
5 WARNINGS AND PRECAUTIONS                                                             7.1 Metabolic Interactions
   5.1 Risks from Systemic Absorption                                             8    USE IN SPECIFIC POPULATIONS
   5.2 Cardiovascular Disorders                                                        8.1 Pregnancy
   5.3 Malignant Neoplasms                                                             8.2 Lactation
   5.4 Probable Dementia                                                               8.4 Pediatric Use
   5.5 Gallbladder Disease                                                             8.5 Geriatric Use
   5.6 Hypercalcemia                                                              10   OVERDOSAGE
   5.7 Visual Abnormalities                                                       11   DESCRIPTION
   5.8 Addition of a Progestin When a Woman Has Not Had a                         12   CLINICAL PHARMACOLOGY
        Hysterectomy                                                                   12.1 Mechanism of Action
   5.9 Elevated Blood Pressure                                                         12.2 Pharmacodynamics
   5.10 Hypertriglyceridemia                                                           12.3 Pharmacokinetics
   5.11 Hepatic Impairment and/or Past History of Cholestatic Jaundice            13   NONCLINICAL TOXICOLOGY
   5.12 Hypothyroidism                                                                 13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
   5.13 Fluid Retention                                                           14   CLINICAL STUDIES



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   14.1 Effects on Moderate to Severe Dyspareunia         Vaginal Bleeding
   14.2 Women’s Health Initiative Studies                 Possible Serious Adverse Reactions with Estrogen-Alone Therapy
   14.3 Women’s Health Initiative Memory Study            Possible Less Serious but Common Adverse Reactions with Estrogen-
15 REFERENCES                                             Alone Therapy
16 HOW SUPPLIED/STORAGE AND HANDLING                    PATIENT INFORMATION
   16.1 How Supplied
   16.2 Storage and Handling                            *Sections or subsections omitted from the full prescribing information are not
17 PATIENT COUNSELING INFORMATION                       listed.




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   FULL PRESCRIBING INFORMATION
         WARNING: ENDOMETRIAL CANCER, CARDIOVASCULAR DISORDERS,
                      BREAST CANCER AND PROBABLE DEMENTIA
    Estrogen-Alone Therapy
                                                      Endometrial Cancer
    There is an increased risk of endometrial cancer in a woman with a uterus who uses unopposed estrogens. Adding a
    progestin to estrogen therapy has been shown to reduce the risk of endometrial hyperplasia, which may be a precursor
    to endometrial cancer. Adequate diagnostic measures, including directed or random endometrial sampling when
    indicated, should be undertaken to rule out malignancy in postmenopausal women with undiagnosed persistent or
    recurring abnormal genital bleeding [see Warnings and Precautions (5.3)].
                                         Cardiovascular Disorders and Probable Dementia
    Estrogen-alone therapy should not be used for the prevention of cardiovascular disease or dementia [see Warnings and
    Precautions (5.2, 5.4), and Clinical Studies (14.2, 14.3)].
    The Women’s Health Initiative (WHI) estrogen-alone substudy reported increased risks of stroke and deep vein
    thrombosis (DVT) in postmenopausal women (50 to 79 years of age) during 7.1 years of treatment with daily oral
    conjugated estrogens (CE) [0.625 mg]-alone, relative to placebo [see Warnings and Precautions ( 5.2), and Clinical
    Studies (14.2)].
    The WHI Memory Study (WHIMS) estrogen-alone ancillary study of WHI reported an increased risk of developing
    probable dementia in postmenopausal women 65 years of age or older during 5.2 years of treatment with daily CE
    (0.625 mg)-alone, relative to placebo. It is unknown whether this finding applies to younger postmenopausal women
    [see Warnings and Precautions (5.4), Use in Specific Populations (8.5), and Clinical Studies (14.3)].
    In the absence of comparable data, these risks should be assumed to be similar for other doses of CE and other dosage
    forms of estrogens. Estrogens with or without progestins should be prescribed at the lowest effective doses and for the
    shortest duration consistent with treatment goals and risks for the individual woman.
    Estrogen Plus Progestin Therapy
                                      Cardiovascular Disorders and Probable Dementia
    Estrogen plus progestin therapy should not be used for the prevention of cardiovascular disease or dementia [see
    Warnings and Precautions (5.2, 5.4), and Clinical Studies (14.2, 14.3)].
    The WHI estrogen plus progestin substudy reported increased risks of DVT, pulmonary embolism (PE), stroke and
    myocardial infarction (MI) in postmenopausal women (50 to 79 years of age) during 5.6 years of treatment with daily
    oral CE (0.625 mg) combined with medroxyprogesterone acetate (MPA) [2.5 mg] relative to placebo [see Warnings and
    Precautions (5.2), and Clinical Studies (14.2)].
    The WHIMS estrogen plus progestin ancillary study of the WHI, reported an increased risk of developing probable
    dementia in postmenopausal women 65 years of age or older during 4 years of treatment with daily CE (0.625 mg)
    combined with MPA (2.5 mg), relative to placebo. It is unknown whether this finding applies to younger
    postmenopausal women [see Warnings and Precautions (5.4), Use in Specific Populations (8.5), and Clinical Studies
    (14.2)].
                                                         Breast Cancer
    The WHI estrogen plus progestin substudy also demonstrated an increased risk of invasive breast cancer [see
    Warnings and Precautions (5.3), and Clinical Studies (14.2)].
    In the absence of comparable data, these risks should be assumed to be similar for other doses of CE and MPA, and
    other combinations and dosage forms of estrogens and progestins.
    Estrogens with or without progestins should be prescribed at the lowest effective doses and for the shortest duration
    consistent with treatment goals and risks for the individual woman.




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   1            INDICATIONS AND USAGE

   1.1          Treatment of Moderate to Severe Dyspareunia, a Symptom of
                Vulvar and Vaginal Atrophy, Due to Menopause

   2            DOSAGE AND ADMINISTRATION
   Generally, when estrogen is prescribed for a postmenopausal woman with a uterus, a progestin
   should also be considered to reduce the risk of endometrial cancer.
   A woman without a uterus does not need a progestin. In some cases, however, hysterectomized
   women with a history of endometriosis may need a progestin [see Warnings and Precautions
   (5.3, 5.15)].
   Use of estrogen-alone, or in combination with a progestin, should be with the lowest effective
   dose and for the shortest duration consistent with treatment goals and risks for the individual
   woman. Postmenopausal women should be re-evaluated periodically as clinically appropriate to
   determine if treatment is still necessary.

   2.1          Treatment of Moderate to Severe Dyspareunia, a Symptom of
                Vulvar and Vaginal Atrophy, Due to Menopause
   IMVEXXY should be administered intravaginally; insert with the smaller end up for a depth of
   about two inches into the vaginal canal. Insert 1 daily at approximately the same time for 2
   weeks, followed by 1 insert twice weekly, every three to four days (for example, Monday and
   Thursday). Generally, women should be started at the 4 mcg dosage strength. Dosage adjustment
   should be guided by the clinical response.


   3            DOSAGE FORMS AND STRENGTHS
   IMVEXXY are small, light pink, tear shaped, vaginal inserts for manual placement into the
   vagina. IMVEXXY inserts contain 4 mcg or 10 mcg of estradiol. Each insert is imprinted in
   white ink on one side with “04” or “10” corresponding to the insert’s dosage strength.


   4            CONTRAINDICATIONS
   IMVEXXY is contraindicated in women with any of the following conditions:
        Undiagnosed abnormal genital bleeding
        Known, suspected, or history of breast cancer
        Known or suspected estrogen-dependent neoplasia
        Active DVT, PE, or history of these conditions
        Active arterial thromboembolic disease (for example, stroke and myocardial infarction (MI)),
         or a history of these conditions
        Known anaphylactic reaction or angioedema with IMVEXXY



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        Known liver impairment or disease
        Known protein C, protein S, or antithrombin deficiency, or other known thrombophilic
         disorders


   5            WARNINGS AND PRECAUTIONS

   5.1          Risks from Systemic Absorption
   IMVEXXY is intended only for vaginal administration. Systemic absorption may occur with the
   use of IMVEXXY [see Pharmacokinetics (12.3)]. The warnings, precautions, and adverse
   reactions associated with the use of systemic estrogen-alone therapy should be taken into
   account.

   5.2          Cardiovascular Disorders
   An increased risk of stroke and DVT has been reported with estrogen-alone therapy. An
   increased risk of PE, DVT, stroke, and MI has been reported with estrogen plus progestin
   therapy. Should these occur or be suspected, estrogen with or without progestin therapy should
   be discontinued immediately.
   Risk factors for arterial vascular disease (for example, hypertension, diabetes mellitus, tobacco
   use, hypercholesterolemia, and obesity) and/or venous thromboembolism (VTE) (for example,
   personal history or family history of VTE, obesity, and systemic lupus erythematosus) should be
   managed appropriately.
   Stroke
   In the WHI estrogen-alone substudy, a statistically significant increased risk of stroke was
   reported in women 50 to 79 years of age receiving daily CE (0.625 mg)-alone compared to
   women in the same age group receiving placebo (45 versus 33 per 10,000 women-years). The
   increase in risk was demonstrated in year 1 and persisted [see Clinical Studies (14.2)]. Should a
   stroke occur or be suspected, estrogen-alone therapy should be discontinued immediately.
   Subgroup analyses of women 50 to 59 years of age suggest no increased risk of stroke for those
   women receiving CE (0.625 mg)-alone versus those receiving placebo (18 versus 21 per 10,000
   women-years).1
   In the WHI estrogen plus progestin substudy, a statistically significant increased risk of stroke
   was reported in women 50 to 79 years of age receiving daily CE (0.625 mg) plus MPA (2.5 mg)
   compared to women in the same age group receiving placebo (33 versus 25 per 10,000 women-
   years) [see Clinical Studies (14.2)]. The increase in risk was demonstrated after the first year and
   persisted.1 Should a stroke occur or be suspected, estrogen plus progestin therapy should be
   discontinued immediately.
   Coronary Heart Disease
   In the WHI estrogen-alone substudy, no overall effect on coronary heart disease (CHD) events
   (defined as nonfatal MI, silent MI, or CHD death) was reported in women receiving estrogen-
   alone compared to placebo2 [see Clinical Studies (14.2)].



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   Subgroup analysis of women 50 to 59 years of age suggests a statistically non-significant
   reduction in CHD events (CE [0.625 mg]-alone compared to placebo) in women with less than
   10 years since menopause (8 versus 16 per 10,000 women-years).1
   In the WHI estrogen plus progestin substudy, there was a statistically non-significant increased
   risk of CHD events reported in women receiving daily CE (0.625 mg) plus MPA (2.5 mg)
   compared to women receiving placebo (41 versus 34 per 10,000 women-years).1 An increase in
   relative risk was demonstrated in year 1, and a trend toward decreasing relative risk was reported
   in years 2 through 5 [see Clinical Studies (14.2)].
   In postmenopausal women with documented heart disease (n=2,763), average 66.7 years of age,
   in a controlled clinical trial of secondary prevention of cardiovascular disease (Heart and
   Estrogen/Progestin Replacement Study [HERS]), treatment with daily CE (0.625 mg) plus MPA
   (2.5 mg) demonstrated no cardiovascular benefit. During an average follow-up of 4.1 years,
   treatment with CE plus MPA did not reduce the overall rate of CHD events in postmenopausal
   women with established coronary heart disease. There were more CHD events in the CE plus
   MPA-treated group than in the placebo group in year 1, but not during the subsequent years. Two
   thousand, three hundred and twenty-one (2,321) women from the original HERS trial agreed to
   participate in an open label extension of the original HERS, HERS II. Average follow-up in
   HERS II was an additional 2.7 years, for a total of 6.8 years overall. Rates of CHD events were
   comparable among women in the CE plus MPA group and the placebo group in HERS, HERS II,
   and overall.
   Venous Thromboembolism
   In the WHI estrogen-alone substudy, the risk of VTE (DVT and PE) was increased for women
   receiving daily CE (0.625 mg)-alone compared to placebo (30 versus 22 per 10,000 women-
   years), although only the increased risk of DVT reached statistical significance (23 versus 15 per
   10,000 women-years). The increase in VTE risk was demonstrated during the first 2 years3 [see
   Clinical Studies (14.2)]. Should a VTE occur or be suspected, estrogen-alone therapy should be
   discontinued immediately.
   In the WHI estrogen plus progestin substudy, a statistically significant 2-fold greater rate of VTE
   was reported in women receiving daily CE (0.625 mg) plus MPA (2.5 mg) compared to women
   receiving placebo (35 versus 17 per 10,000 women-years). Statistically significant increases in
   risk for both DVT (26 versus 13 per 10,000 women-years) and PE (18 versus 8 per 10,000
   women-years) were also demonstrated. The increase in VTE risk was demonstrated during the
   first year and persisted4 [see Clinical Studies (14.2)]. Should a VTE occur or be suspected,
   estrogen plus progestin therapy should be discontinued immediately.
   If feasible, estrogens should be discontinued at least 4 to 6 weeks before surgery of the type
   associated with an increased risk of thromboembolism, or during periods of prolonged
   immobilization.

   5.3        Malignant Neoplasms
   Endometrial Cancer
   An increased risk of endometrial cancer has been reported with the use of unopposed estrogen
   therapy in a woman with a uterus. The reported endometrial cancer risk among unopposed
   estrogen users is about 2 to 12 times greater than in non-users, and appears dependent on


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   duration of treatment and on estrogen dose. Most studies show no significant increased risk
   associated with use of estrogens for less than 1 year. The greatest risk appears associated with
   prolonged use, with an increased risk of 15- to 24-fold for 5 to 10 years or more and this risk has
   been shown to persist for at least 8 to 15 years after estrogen therapy is discontinued.
   Clinical surveillance of all women using estrogen-alone or estrogen plus progestin therapy is
   important. Adequate diagnostic measures, including directed or random endometrial sampling
   when indicated, should be undertaken to rule out malignancy in postmenopausal women with
   undiagnosed persistent or recurring abnormal genital bleeding.
   There is no evidence that the use of natural estrogens results in a different endometrial risk
   profile than synthetic estrogens of equivalent estrogen dose. Adding a progestin to estrogen
   therapy in postmenopausal women has been shown to reduce the risk of endometrial hyperplasia,
   which may be a precursor to endometrial cancer.
   Breast Cancer
   The most important randomized clinical trial providing information about breast cancer in
   estrogen-alone users is the WHI substudy of daily CE (0.625 mg)-alone. In the WHI estrogen-
   alone substudy, after an average follow-up of 7.1 years, daily CE-alone was not associated with
   an increased risk of invasive breast cancer [relative risk (RR) 0.80]5 [see Clinical Studies (14.2)].
   The most important randomized clinical trial providing information about breast cancer in
   estrogen plus progestin users is the WHI substudy of daily CE (0.625 mg) plus MPA (2.5 mg).
   After a mean follow-up of 5.6 years, the estrogen plus progestin substudy reported an increased
   risk of invasive breast cancer in women who took daily CE plus MPA. In this substudy, prior use
   of estrogen-alone or estrogen plus progestin therapy was reported by 26 percent of the women.
   The relative risk of invasive breast cancer was 1.24, and the absolute risk was 41 versus 33 cases
   per 10,000 women-years, for CE plus MPA compared with placebo. Among women who
   reported prior use of hormone therapy, the relative risk of invasive breast cancer was 1.86, and
   the absolute risk was 46 versus 25 cases per 10,000 women-years, for CE plus MPA compared
   with placebo. Among women who reported no prior use of hormone therapy, the relative risk of
   invasive breast cancer was 1.09, and the absolute risk was 40 versus 36 cases per 10,000 women-
   years for CE plus MPA compared with placebo. In the same substudy, invasive breast cancers
   were larger, were more likely to be node positive, and were diagnosed at a more advanced stage
   in the CE (0.625 mg) plus MPA (2.5 mg) group compared with the placebo group. Metastatic
   disease was rare, with no apparent difference between the two groups. Other prognostic factors,
   such as histologic subtype, grade and hormone receptor status did not differ between the groups6
   [see Clinical Studies (14.2)].
   Consistent with the WHI clinical trial, observational studies have also reported an increased risk
   of breast cancer for estrogen plus progestin therapy, and a smaller increased risk for estrogen-
   alone therapy, after several years of use. The risk increased with duration of use, and appeared to
   return to baseline over about 5 years after stopping treatment (only the observational studies have
   substantial data on risk after stopping). Observational studies also suggest that the risk of breast
   cancer was greater, and became apparent earlier, with estrogen plus progestin therapy as
   compared to estrogen-alone therapy. However, these studies have not generally found significant
   variation in the risk of breast cancer among different estrogen plus progestin combinations,
   doses, or routes of administration.
   The use of estrogen-alone and estrogen plus progestin therapy has been reported to result in an
   increase in abnormal mammograms requiring further evaluation.


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   All women should receive yearly breast examinations by a healthcare provider and perform
   monthly breast self-examinations. In addition, mammography examinations should be scheduled
   based on patient age, risk factors, and prior mammogram results.
   Ovarian Cancer
   The WHI estrogen plus progestin substudy reported a statistically non-significant increased risk
   of ovarian cancer. After an average follow-up of 5.6 years, the relative risk for ovarian cancer for
   CE plus MPA versus placebo was 1.58 (95 percent CI, 0.77 to 3.24). The absolute risk for CE
   plus MPA versus placebo was 4 versus 3 cases per 10,000 women-years.7
   A meta-analysis of 17 prospective and 35 retrospective epidemiology studies found that women
   who used hormonal therapy for menopausal symptoms had an increased risk for ovarian cancer.
   The primary analysis, using case-control comparisons, included 12,110 cancer cases from the
   17 prospective studies. The relative risks associated with current use of hormonal therapy was
   1.41 (95% confidence interval [CI] 1.32 to 1.50); there was no difference in the risk estimates by
   duration of the exposure (less than 5 years [median of 3 years] vs. greater than 5 years [median
   of 10 years] of use before the cancer diagnosis). The relative risk associated with combined
   current and recent use (discontinued use within 5 years before cancer diagnosis) was 1.37
   (95 percent CI, 1.27 to 1.48), and the elevated risk was significant for both estrogen-alone and
   estrogen plus progestin products. The exact duration of hormone therapy use associated with an
   increased risk of ovarian cancer, however, is unknown.

   5.4        Probable Dementia
   In the WHIMS estrogen-alone ancillary study of WHI, a population of 2,947 hysterectomized
   women 65 to 79 years of age was randomized to daily CE (0.625 mg)-alone or placebo.
   After an average follow-up of 5.2 years, 28 women in the estrogen-alone group and 19 women in
   the placebo group were diagnosed with probable dementia. The relative risk of probable
   dementia for CE-alone versus placebo was 1.49 (95 percent CI, 0.83-2.66). The absolute risk of
   probable dementia for CE-alone versus placebo was 37 versus 25 cases per 10,000 women-years8
   [see Use in Specific Populations (8.5), and Clinical Studies (14.3)].
   In the WHIMS estrogen plus progestin ancillary study of WHI, a population of 4,532
   postmenopausal women 65 to 79 years of age was randomized to daily CE (0.625 mg) plus MPA
   (2.5 mg) or placebo. After an average follow-up of 4 years, 40 women in the CE plus MPA
   group and 21 women in the placebo group were diagnosed with probable dementia. The relative
   risk of probable dementia for CE plus MPA versus placebo was 2.05 (95 percent CI, 1.21-3.48).
   The absolute risk of probable dementia for CE plus MPA versus placebo was 45 versus 22 cases
   per 10,000 women-years8 [see Use in Specific Populations (8.5), and Clinical Studies (14.3)].
   When data from the two populations in the WHIMS estrogen-alone and estrogen plus progestin
   ancillary studies were pooled as planned in the WHIMS protocol, the reported overall relative
   risk for probable dementia was 1.76 (95 percent CI, 1.19-2.60). Since both ancillary studies were
   conducted in women 65 to 79 years of age, it is unknown whether these findings apply to
   younger postmenopausal women8 [see Use in Specific Populations (8.5), and Clinical Studies
   (14.3)].




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   5.5        Gallbladder Disease
   A 2- to 4-fold increase in the risk of gallbladder disease requiring surgery in postmenopausal
   women receiving estrogens has been reported.

   5.6        Hypercalcemia
   Estrogen administration may lead to severe hypercalcemia in women with breast cancer and
   bone metastases. If hypercalcemia occurs, use of the drug should be stopped and appropriate
   measures taken to reduce the serum calcium level.

   5.7        Visual Abnormalities
   Retinal vascular thrombosis has been reported in women receiving estrogens. Discontinue
   medication pending examination if there is a sudden partial or complete loss of vision, or a
   sudden onset of proptosis, diplopia, or migraine. If examination reveals papilledema or retinal
   vascular lesions, estrogens should be permanently discontinued.

   5.8        Addition of a Progestin When a Woman Has Not Had a
              Hysterectomy
   Studies of the addition of a progestin for 10 or more days of a cycle of estrogen administration,
   or daily with estrogen in a continuous regimen, have reported a lowered incidence of endometrial
   hyperplasia than would be induced by estrogen treatment alone. Endometrial hyperplasia may be
   a precursor to endometrial cancer.
   There are, however, possible risks that may be associated with the use of progestins with
   estrogens compared to estrogen-alone regimens. These include an increased risk of breast cancer.

   5.9        Elevated Blood Pressure
   In a small number of case reports, substantial increases in blood pressure have been attributed to
   idiosyncratic reactions to estrogens. In a large, randomized, placebo-controlled clinical trial, a
   generalized effect of estrogens on blood pressure was not seen.

   5.10       Hypertriglyceridemia
   In women with pre-existing hypertriglyceridemia, estrogen therapy may be associated with
   elevations of plasma triglycerides leading to pancreatitis. Consider discontinuation of treatment
   if pancreatitis occurs.

   5.11       Hepatic Impairment and/or Past History of Cholestatic Jaundice
   Estrogens may be poorly metabolized in women with impaired liver function. For women with a
   history of cholestatic jaundice associated with past estrogen use or with pregnancy, caution
   should be exercised, and in the case of recurrence, medication should be discontinued.

   5.12       Hypothyroidism
   Estrogen administration leads to increased thyroid-binding globulin (TBG) levels. Women with
   normal thyroid function can compensate for the increased TBG by making more thyroid


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   hormone, thus maintaining free T4 and T3 serum concentrations in the normal range. Women
   dependent on thyroid hormone replacement therapy who are also receiving estrogens may
   require increased doses of their thyroid replacement therapy. These women should have their
   thyroid function monitored in order to maintain their free thyroid hormone levels in an
   acceptable range.

   5.13       Fluid Retention
   Estrogens may cause some degree of fluid retention. Women with conditions that might be
   influenced by this factor, such as a cardiac or renal dysfunction, warrant careful observation
   when estrogen-alone is prescribed.

   5.14       Hypocalcemia
   Estrogen therapy should be used with caution in women with hypoparathyroidism as estrogen-
   induced hypocalcemia may occur.

   5.15       Exacerbation of Endometriosis
   Cases of malignant transformation of residual endometrial implants have been reported in
   women treated post-hysterectomy with estrogen-alone therapy. For women known to have
   residual endometriosis post-hysterectomy, the addition of progestin should be considered.

   5.16       Hereditary Angioedema
   Exogenous estrogens may exacerbate symptoms of angioedema in women with hereditary
   angioedema.

   5.17       Exacerbation of Other Conditions
   Estrogen therapy may cause an exacerbation of asthma, diabetes mellitus, epilepsy, migraine,
   porphyria, systemic lupus erythematosus, and hepatic hemangiomas and should be used with
   caution in women with these conditions.

   5.18       Laboratory Tests
   Serum follicle stimulating hormone (FSH) and estradiol levels have not been shown to be useful
   in the management of moderate to severe symptoms of vulvar and vaginal atrophy due to
   menopause.

   5.19       Drug Laboratory Test Interactions
   Accelerated prothrombin time, partial thromboplastin time, and platelet aggregation time;
   increased platelet count; increased factors II, VII antigen, VIII antigen, VIII coagulant activity,
   IX, X, XII, VII-X complex, II-VII-X complex, and beta-thromboglobulin; decreased levels of
   antifactor Xa and antithrombin III, decreased antithrombin III activity; increased levels of
   fibrinogen and fibrinogen activity; increased plasminogen antigen and activity.
   Increased thyroid-binding globulin (TBG) levels leading to increased circulating total thyroid
   hormone as measured by protein-bound iodine (PBI), T4 levels (by column or by


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   radioimmunoassay) or T3 levels by radioimmunoassay. T3 resin uptake is decreased, reflecting
   the elevated TBG. Free T4 and free T3 concentrations are unaltered. Women on thyroid
   replacement therapy may require higher doses of thyroid hormone.
   Other binding proteins may be elevated in serum, for example, corticosteroid binding globulin
   (CBG), sex hormone-binding globulin (SHBG), leading to increased total circulating
   corticosteroids and sex steroids, respectively. Free hormone concentrations, such as testosterone
   and estradiol, may be decreased. Other plasma proteins may be increased (angiotensinogen/renin
   substrate, alpha-1-antitrypsin, ceruloplasmin).
   Increased plasma high-density lipoprotein (HDL) and HDL2 cholesterol subfraction
   concentrations, reduced low-density lipoprotein (LDL) cholesterol concentrations, increased
   triglyceride levels.
   Impaired glucose tolerance.


   6            ADVERSE REACTIONS
   The following serious adverse reactions are discussed elsewhere in the labeling:
    Cardiovascular Disorders [see Warnings and Precautions (5.2)].
    Malignant Neoplasms [see Warnings and Precautions (5.3)].

   6.1          Clinical Trials Experience
   Because clinical trials are conducted under widely varying conditions, adverse reaction rates
   observed in the clinical trials of a drug cannot be directly compared to rates in the clinical trials
   of another drug and may not reflect the rates observed in practice.
   The safety of IMVEXXY 4 mcg and 10 mcg was assessed in a single, double-blind, parallel-
   group, placebo-controlled trial (N=382). The duration of treatment in this trial was 12 weeks
   (dosing occurred every day for 14 days and then twice weekly thereafter for maintenance).
   Adverse reactions with an incidence of ≥3 percent in any IMVEXXY group and numerically
   greater than those reported in the placebo group are listed in Table 1.

   Table 1:         Treatment-Emergent Adverse Reactions Reported at a Frequency of ≥3%
                    and Numerically More Common in Women Receiving IMVEXXY
                                                 IMVEXXY              IMVEXXY
                                                                                           Placebo
                Preferred Term                     4 mcg                10 mcg
                                                                                           (N=192)
                                                  (N=191)              (N=191)
         Nervous system disorders, n (%)
                   Headache                        7 (3.7)              5 (2.6)             6 (3.1)

   6.2          Postmarketing Experience
   The following adverse reactions have been identified during post-approval use of IMVEXXY
   4 and 10 mcg. Because these reactions are reported voluntarily from a population of uncertain



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   size, it is not always possible to reliably estimate their frequency or establish a causal
   relationship to drug exposure.
   Genitourinary system
   Vaginal discharge


   7          DRUG INTERACTIONS
   No drug-drug interaction studies have been conducted with IMVEXXY.

   7.1        Metabolic Interactions
   In vitro and in vivo studies have shown that estrogens are metabolized partially by cytochrome
   P450 3A4 (CYP3A4). Therefore, inducers or inhibitors of CYP3A4 may affect estrogen drug
   metabolism. Inducers of CYP3A4, such as St. John's wort (Hypericum perforatum) preparations,
   phenobarbital, carbamazepine, and rifampin, may reduce plasma concentrations of estrogens,
   possibly resulting in a decrease in therapeutic effects and/or changes in the uterine bleeding
   profile. Inhibitors of CYP3A4 such as erythromycin, clarithromycin, ketoconazole, itraconazole,
   ritonavir and grapefruit juice may increase plasma concentrations of estrogens and may result in
   side effects.


   8          USE IN SPECIFIC POPULATIONS
   8.1        Pregnancy
   Risk Summary
   IMVEXXY is not indicated for use in pregnancy. There are no data with the use of IMVEXXY
   in pregnant women; however, epidemiologic studies and meta-analyses have not found an
   increased risk of genital or nongenital birth defects (including cardiac anomalies and limb-
   reduction defects) following exposure to combined hormonal contraceptives (estrogen and
   progestins) before conception or during early pregnancy.

   8.2        Lactation
   Risk Summary
   IMVEXXY is not indicated for use in females of reproductive potential. Estrogens are present in
   human milk and can reduce milk production in breast-feeding females. This reduction can occur
   at any time but is less likely to occur once breast-feeding is well-established.

   8.4        Pediatric Use
   IMVEXXY is not indicated in children. Clinical studies have not been conducted in the pediatric
   population.




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   8.5        Geriatric Use
   There have not been sufficient numbers of geriatric women involved in clinical studies utilizing
   IMVEXXY to determine whether those over 65 years of age differ from younger subjects in their
   response to IMVEXXY.
   The Women’s Health Initiative Studies
   In the WHI estrogen-alone substudy (daily CE [0.625 mg]-alone versus placebo), there was a
   higher relative risk of stroke in women greater than 65 years of age [see Clinical Studies (14.2)].
   In the WHI estrogen plus progestin substudy (daily CE [0.625 mg] plus MPA [2.5 mg] versus
   placebo), there was a higher relative risk of nonfatal stroke and invasive breast cancer in women
   greater than 65 years of age [see Clinical Studies (14.2)].
   The Women’s Health Initiative Memory Study
   In the WHIMS ancillary studies of postmenopausal women 65 to 79 years of age, there was an
   increased risk of developing probable dementia in women receiving estrogen-alone or estrogen
   plus progestin when compared to placebo [see Warnings and Precautions (5.4), and Clinical
   Studies (14.3)].
   Since both ancillary studies were conducted in women 65 to 79 years of age, it is unknown
   whether these findings apply to younger postmenopausal women8 [see Warnings and
   Precautions (5.4), and Clinical Studies (14.3)].


   10         OVERDOSAGE
   Overdosage of estrogen may cause nausea, vomiting, breast tenderness, abdominal pain,
   drowsiness and fatigue, and withdrawal bleeding may occur in women. Treatment of overdose
   consists of discontinuation of IMVEXXY therapy with institution of appropriate symptomatic
   care.


   11         DESCRIPTION
   IMVEXXY (estradiol vaginal inserts) are small, light pink, tear-shaped, vaginal inserts for
   manual placement into the vagina. Inserts contain 4 mcg or 10 mcg of estradiol, an estrogen.
   Each insert is imprinted in white ink on one side with “04” or “10” corresponding to the insert’s
   dosage strength. IMVEXXY vaginal inserts are used intravaginally. When the insert comes in
   contact with the vaginal mucosa, estradiol is released into the vagina.

   Estradiol is chemically described as estra-1,3,5 (10)-triene-3,17β-diol. The chemical formula is
   C18H24O2 with a molecular weight of 272.38.

   The structural formula is:




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   IMVEXXY (estradiol vaginal inserts) contain the following inactive ingredients: ammonium
   hydroxide, ethanol, ethyl acetate, ethylene glycol palmitostearate, FD&C Red #40, gelatin,
   glycerin, isopropyl alcohol, lecithin, medium chain triglycerides, polyethylene glycol,
   polyethylene glycol stearates, polyvinyl acetate phthalate, propylene glycol, purified water,
   sorbitol-sorbitan solution, and titanium dioxide. FDA approved acceptance criteria for assay,
   organic impurities, and dissolution tolerances differ from the USP test.


   12           CLINICAL PHARMACOLOGY
   12.1         Mechanism of Action
   Endogenous estrogens are largely responsible for the development and maintenance of the
   female reproductive system and secondary sexual characteristics. Although circulating estrogens
   exist in a dynamic equilibrium of metabolic interconversions, estradiol is the principal
   intracellular human estrogen and is substantially more potent than its metabolites, estrone and
   estriol, at the receptor level.
   The primary source of estrogen in normally cycling adult women is the ovarian follicle, which
   secretes 70 to 500 mcg of estradiol daily, depending on the phase of the menstrual cycle. After
   menopause, most endogenous estrogen is produced by conversion of androstenedione, secreted
   by the adrenal cortex, to estrone in the peripheral tissues. Thus, estrone and the sulfate
   conjugated form, estrone sulfate, are the most abundant circulating estrogens in postmenopausal
   women.
   Estrogens act through binding to nuclear receptors in estrogen-responsive tissues. To date, two
   estrogen receptors have been identified. These vary in proportion from tissue to tissue.
   Circulating estrogens modulate the pituitary secretion of the gonadotropins, luteinizing hormone
   (LH), and FSH, through a negative feedback mechanism. Estrogens act to reduce the elevated
   levels of these hormones seen in postmenopausal women.

   12.2         Pharmacodynamics
   Currently there are no pharmacodynamics data known for IMVEXXY.

   12.3         Pharmacokinetics
   Absorption
   Estrogen drug products are well absorbed through the skin, mucous membranes, and the
   gastrointestinal tract. The vaginal delivery of estrogens circumvents first-pass metabolism.



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   In a multicenter, double-blind placebo-controlled study of 574 postmenopausal women
   randomized to placebo, or 4 and 10 mcg of IMVEXXY, a subset of 54 women participated in a
   pharmacokinetics substudy. Women received 1 vaginal insert daily for the first 2 weeks,
   followed by 1 insert twice weekly for the following 10 weeks.
   Mean (±SD) serum estradiol and estrone following 14 days of once daily administration of
   IMVEXXY are shown in Figure 1. Administration of the 4 mcg and 10 mcg IMVEXXY vaginal
   inserts and placebo once daily for 14 days resulted in a mean estradiol Cavg (0-24) of 3.6, 4.6, and
   4.3 pg/mL, respectively, Table 2.
   Figure 1:                   Mean (±SD) Serum Concentration of Estradiol and Estrone on Day 14
                               Following Daily Administration of IMVEXXY 4 mcg, IMVEXXY 10 mcg,
                               and Placebo

       A . E s t r a d io l                                                                   B . E s tro n e

                  10                                                                         40
                                                              4 m cg

                   8                                          10 m cg
                                                                                             30
                                                              P la c e b o
                   6
       p g /m L




                                                                                  p g /m L




                                                                                             20
                   4

                                                                                             10
                   2


                   0                                                                          0
                       0   4         8         12        16           20     24                   0   4         8         12        16           20    24
                               t im e a ft e r d o s in g ( h r s )                                       t im e a ft e r d o s in g ( h r s )




   Table 2: Arithmetic Mean (SD) of Estradiol and Estrone Pharmacokinetic Parameters
            Following 14 Daily Doses – Unadjusted for Baseline
                                                           Estradiol                                                                 Estrone
                                           Cmax                              Cavg (0-24)                              Cmax                             Cavg (0-24)
                                         (pg/mL)                             (pg/mL)                                (pg/mL)                            (pg/mL)
           4 mcg                         4.8 (2.3)                           3.6 (1.8)                           16.0 (5.5)                           13.6 (4.8)
        10 mcg                           7.3 (2.4)                           4.6 (2.3)                          23.9 (13.5)                           19.3 (10.2)
       Placebo                           5.5 (3.4)                           4.3 (2.8)                          22.8 (10.9)                           17.8 (7.5)

   At Day 84, estradiol concentrations compared to Baseline concentrations were: 4.3 vs 3.9 pg/mL
   for 4 mcg; 4.8 vs 5.0 pg/mL for 10 mcg; and 4.4 vs 4.5 pg/mL for placebo.

   Distribution
   The distribution of exogenous estrogens is similar to that of endogenous estrogens. Estrogens are
   widely distributed in the body and are generally found in higher concentrations in the sex
   hormone target organs. Estrogens circulate in the blood largely bound to SHBG and albumin.


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   Metabolism
   Exogenous estrogens are metabolized in the same manner as endogenous estrogens. Circulating
   estrogens exist in a dynamic equilibrium of metabolic interconversions. These transformations
   take place mainly in the liver. Estradiol is converted reversibly to estrone, and both can be
   converted to estriol, which is the major urinary metabolite. Estrogens also undergo enterohepatic
   recirculation via sulfate and glucuronide conjugation in the liver, biliary secretion of conjugates
   into the intestine, and hydrolysis in the intestine followed by reabsorption. In postmenopausal
   women, a significant portion of the circulating estrogens exist as sulfate conjugates, especially
   estrone sulfate, which serves as a circulating reservoir for the formation of more active estrogens.
   Excretion
   Estradiol, estrone, and estriol are excreted in the urine along with glucuronide and sulfate
   conjugates.
   Use in Specific Populations
   No pharmacokinetic studies were conducted in specific populations, including women with renal
   or hepatic impairment.


   13          NONCLINICAL TOXICOLOGY
   13.1        Carcinogenesis, Mutagenesis, Impairment of Fertility
   Long-term continuous administration of natural and synthetic estrogens in certain animal species
   increases the frequency of carcinomas of the breast, uterus, cervix, vagina, testis, and liver.


   14          CLINICAL STUDIES

   14.1        Effects on Moderate to Severe Dyspareunia
   The effectiveness and safety of IMVEXXY on moderate to severe dyspareunia, a symptom of
   vulvar and vaginal atrophy due to menopause were examined in one placebo-controlled clinical
   trial.
   This 12-week, randomized, double-blind, placebo-controlled, parallel-group trial enrolled 574
   generally healthy postmenopausal women between 40 to 75 years of age (mean 59 years of age)
   who at baseline assessment had ≤5 percent superficial cells on a vaginal smear, a vaginal pH
   >5.0, and also identified, at baseline, moderate to severe dyspareunia as the most bothersome
   symptom to her. Greater than 90% of women also reported moderate to severe vaginal dryness at
   baseline. Treatment groups included 4 mcg IMVEXXY (n=191), 10 mcg IMVEXXY (n=191),
   and placebo (n=192). All women were assessed for improvement in the mean change from
   Baseline to Week 12 for the co-primary efficacy variables of: most bothersome moderate to
   severe symptom of dyspareunia, percentage of vaginal superficial and percentage of vaginal
   parabasal cells on a vaginal smear, and vaginal pH.
   IMVEXXY 4 mcg and 10 mcg inserts were statistically superior to placebo in reducing the
   severity of moderate to severe dyspareunia at Week 12 (see Table 3). A statistically significant


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   increase in the percentage of superficial cells and a corresponding statistically significant
   decrease in the percentage of parabasal cells on a vaginal smear was also demonstrated for
   IMVEXXY 4 and 10 mcg inserts (p<0.0001). The mean reduction in vaginal pH between
   Baseline and Week 12 was also statistically significant for IMVEXXY 4 and 10 mcg inserts
   (p<0.0001).
   Table 3:          Efficacy of Dyspareunia Associated with Postmenopausal Vulvar and
                     Vaginal Atrophy (Least Square Mean Change from Baseline to Week 12 in
                     Severity of Woman’s Self-Identified Most Bothersome Moderate to Severe
                     Symptom of Vulvar and Vaginal Atrophy)
           Most Bothersome                       IMVEXXY                     IMVEXXY                    Placebo
           Moderate to Severe                      4 mcg                       10 mcg
          Symptom at Baseline                     (N=151)                     (N=154)                   (N=163)
               Dyspareunia

            Baseline Mean (SD)                     2.7 (0.48)                  2.6 (0.48)               2.7 (0.46)


      LS Mean Change from Baseline               -1.52 (0.071)               -1.69 (0.071)            -1.28 (0.070)
                  (SE)
           p-value vs placebo                       0.0149                     <0.0001                    ------
   The modified intent-to-treat population (MITT) included only women in the ITT population who at baseline met the
   inclusion criteria of ≤5 percent superficial cells on a vaginal smear, a vaginal pH >5.0, and who identified moderate
   or severe dyspareunia as her most bothersome vaginal symptom.
   Definitions: SD – standard deviation; SE – standard error; LS – least square

   14.2         Women’s Health Initiative Studies
   The WHI enrolled approximately 27,000 predominantly healthy postmenopausal women in two
   substudies to assess the risks and benefits of daily oral CE (0.625 mg)-alone or in combination
   with MPA (2.5 mg) compared to placebo in the prevention of certain chronic diseases. The
   primary endpoint was the incidence of CHD (defined as nonfatal MI, silent MI and CHD death),
   with invasive breast cancer as the primary adverse outcome. A “global index” included the
   earliest occurrence of CHD, invasive breast cancer, stroke, PE, endometrial cancer (only in the
   CE plus MPA substudy), colorectal cancer, hip fracture, or death due to other causes. These
   substudies did not evaluate the effects of CE-alone or CE plus MPA on menopausal symptoms.
   WHI Estrogen-Alone Substudy
   The WHI estrogen-alone substudy was stopped early because an increased risk of stroke was
   observed, and it was deemed that no further information would be obtained regarding the risks
   and benefits of estrogen-alone in predetermined primary endpoints.
   Results of the estrogen-alone substudy, which included 10,739 women (average 63 years of age,
   range 50 to 79; 75.3 percent White, 15.1 percent Black, 6.1 percent Hispanic, 3.6 percent Other)
   after an average follow-up of 7.1 years, are presented in Table 4.




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   Table 4:          Relative and Absolute Risk Seen in the Estrogen-Alone Substudy of WHIa

                                               Relative Risk                    CE                     Placebo
                  Event                        CE vs Placebo
                                                (95% nCIb)                    n=5,310                  n=5,429

                                                                            Absolute Risk per 10,000 Women-
                                                                                         Years
              CHD eventsc                      0.95 (0.78-1.16)                  54                        57
              Non-fatal MIc                    0.91 (0.73-1.14)                  40                        43
               CHD deathc                      1.01 (0.71-1.43)                  16                        16
               All Strokesc                    1.33 (1.05-1.68)                  45                        33
             Ischemic strokec                  1.55 (1.19-2.01)                  38                        25
         Deep vein thrombosisc,d               1.47 (1.06-2.06)                  23                        15
         Pulmonary embolismc                   1.37 (0.90-2.07)                  14                        10
         Invasive breast cancerc               0.80 (0.62-1.04)                  28                        34
            Colorectal cancerc                 1.08 (0.75-1.55)                  17                        16
                              c
               Hip fracture                    0.65 (0.45-0.94)                  12                        19
          Vertebral fracturesc,d               0.64 (0.44-0.93)                  11                        18
       Lower arm/wrist fracturesc,d            0.58 (0.47-0.72)                  35                        59
            Total fracturesc,d                 0.71 (0.64-0.80)                  144                      197
       Death due to other causese,f            1.08 (0.88-1.32)                  53                        50
           Overall mortalityc,d                1.04 (0.88-1.22)                  79                        75
              Global Indexg                    1.02 (0.92-1.13)                  206                      201
   a
     Adapted from numerous WHI publications. WHI publications can be viewed at www.nhlbi.nih.gov/whi.
   b
     Nominal confidence intervals unadjusted for multiple looks and multiple comparisons.
   c
     Results are based on centrally adjudicated data for an average follow-up of 7.1 years.
   d
     Not included in "global index."
   e
     Results are based on an average follow-up of 6.8 years.
   f
     All deaths, except from breast or colorectal cancer, definite or probable CHD, PE or cerebrovascular disease.
   g
     A subset of the events was combined in a “global index,” defined as the earliest occurrence of CHD events,
     invasive breast cancer, stroke, pulmonary embolism, colorectal cancer, hip fracture, or death due to other causes.

   For those outcomes included in the WHI “global index” that reached statistical significance, the
   absolute excess risk per 10,000 women-years in the group treated with CE-alone was 12 more
   strokes while the absolute risk reduction per 10,000 women-years was 7 fewer hip fractures.9
   The absolute excess risk of events included in the “global index” was a non-significant 5 events
   per 10,000 women-years. There was no difference between the groups in terms of all-cause
   mortality.
   No overall difference for primary CHD events (nonfatal MI, silent MI and CHD death) and
   invasive breast cancer incidence in women receiving CE-alone compared with placebo was



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   reported in final centrally adjudicated results from the estrogen-alone substudy, after an average
   follow-up of 7.1 years.
   Centrally adjudicated results for stroke events from the estrogen-alone substudy, after an average
   follow-up of 7.1 years, reported no significant difference in distribution of stroke subtype or
   severity, including fatal strokes, in women receiving CE-alone compared to placebo. Estrogen-
   alone increased the risk for ischemic stroke, and this excess risk was present in all subgroups of
   women examined.10
   Timing of the initiation of estrogen-alone therapy relative to the start of menopause may affect
   the overall risk benefit profile. The WHI estrogen-alone substudy, stratified by age, showed in
   women 50-59 years of age a non-significant trend toward reduced risk for CHD [hazard ratio
   (HR) 0.63 (95 percent CI, 0.36-1.09)] and overall mortality [HR 0.71 (95 percent CI,
   0.46-1.11)].

   WHI Estrogen Plus Progestin Substudy
   The WHI estrogen plus progestin substudy was stopped early. According to the predefined
   stopping rule, after an average follow-up of 5.6 years of treatment, the increased risk of invasive
   breast cancer and cardiovascular events exceeded the specified benefits included in the “global
   index.” The absolute excess risk of events included in the “global index” was 19 per 10,000
   women-years.
   For those outcomes included in the WHI “global index” that reached statistical significance after
   5.6 years of follow-up, the absolute excess risks per 10,000 women-years in the group treated
   with CE plus MPA were 7 more CHD events, 8 more strokes, 10 more PEs, and 8 more invasive
   breast cancers, while the absolute risk reductions per 10,000 women-years were 6 fewer
   colorectal cancers and 5 fewer hip fractures.
   Results of the CE plus MPA substudy, which included 16,608 women (average 63 years of age,
   range 50 to 79; 83.9 percent White, 6.8 percent Black, 5.4 percent Hispanic, 3.9 percent Other)
   are presented in Table 5. These results reflect centrally adjudicated data after an average follow-
   up of 5.6 years.
   Table 5:        Relative and Absolute Risk Seen in the Estrogen Plus Progestin Substudy of
                   WHI at an Average of 5.6 Yearsa,b
                                        Relative Risk
                                                                 CE/MPA                Placebo
                  Event               CE/MPA vs Placebo
                                                                 n=8,506               n=8,102
                                         (95% nCIc)
                                                             Absolute Risk per 10,000 Women-Years
               CHD events                1.23 (0.99-1.53)           41                    34
               Non-fatal MI              1.28 (1.00-1.63)           31                    25
               CHD death                 1.10 (0.70-1.75)            8                     8
                All Strokes              1.31 (1.03-1.68)           33                    25
              Ischemic stroke            1.44 (1.09-1.90)           26                    18
         Deep vein thrombosisd           1.95 (1.43-2.67)           26                    13




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                                              Relative Risk
                                                                            CE/MPA                    Placebo
                   Event                    CE/MPA vs Placebo
                                                                            n=8,506                   n=8,102
                                               (95% nCIc)
                                                                        Absolute Risk per 10,000 Women-Years
           Pulmonary embolism                  2.13 (1.45-3.11)                 18                        8
          Invasive breast cancere              1.24 (1.01-1.54)                 41                        33
             Colorectal cancer                 0.61 (0.42-0.87)                 10                        16
           Endometrial cancerd                 0.81 (0.48-1.36)                  6                        7
              Cervical cancerd                 1.44 (0.47-4.42)                  2                        1
                Hip fracture                   0.67 (0.47-0.96)                 11                        16
            Vertebral fracturesd               0.65 (0.46-0.92)                 11                        17
        Lower arm/wrist fracturesd             0.71 (0.59-0.85)                 44                        62
              Total fracturesd                 0.76 (0.69-0.83)                 152                      199
            Overall Mortalityc,f               1.00 (0.83-1.19)                 52                        52
                               g
               Global Index                    1.13 (1.02-1.25)                 184                      165
   a
     Adapted from numerous WHI publications. WHI publications can be viewed at www.nhlbi.nih.gov/whi.
   b
     Results are based on centrally adjudicated data.
   c
     Nominal confidence intervals unadjusted for multiple looks and multiple comparisons.
   d
     Not included in "global index."
   e
     Includes metastatic and non-metastatic breast cancer with the exception of in situ cancer.
   f
     All deaths, except from breast or colorectal cancer, definite or probable CHD, PE or cerebrovascular disease.
   g
     A subset of the events was combined in a “global index,” defined as the earliest occurrence of CHD events,
   invasive breast cancer, stroke, PE, colorectal cancer, hip fracture, or death due to other causes.

   Timing of the initiation of estrogen plus progestin therapy relative to the start of menopause may
   affect the overall risk benefit profile. The WHI estrogen plus progestin substudy stratified by age
   showed in women 50-59 years of age, a non-significant trend toward reduced risk for overall
   mortality [HR 0.69 (95 percent CI, 0.44-1.07)].

   14.3         Women’s Health Initiative Memory Study
   The WHIMS estrogen-alone ancillary study of WHI enrolled 2,947 predominately healthy
   hysterectomized postmenopausal women 65 to 79 years of age and older (45 percent were 65 to
   69 years of age; 36 percent were 70 to 74 years of age; 19 percent were 75 years of age and
   older) to evaluate the effects of daily CE (0.625 mg)-alone on the incidence of probable dementia
   (primary outcome) compared to placebo.
   After an average follow-up of 5.2 years, the relative risk of probable dementia for CE-alone
   versus placebo was 1.49 (95 percent CI, 0.83-2.66). The absolute risk of probable dementia for
   CE-alone versus placebo was 37 versus 25 cases per 10,000 women-years. Probable dementia as
   defined in this study included Alzheimer's disease (AD), vascular dementia (VaD) and mixed
   types (having features of both AD and VaD). The most common classification of probable
   dementia in the treatment group and the placebo group was AD. Since the ancillary study was
   conducted in women 65 to 79 years of age, it is unknown whether these findings apply to


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   younger postmenopausal women [see Warnings and Precautions (5.4), and Use in Specific
   Populations (8.5)].
   The WHIMS estrogen plus progestin ancillary study of WHI enrolled 4,532 predominantly
   healthy postmenopausal women 65 years of age and older (47 percent were 65 to 69 years of
   age; 35 percent were 70 to 74 years; 18 percent were 75 years of age and older) to evaluate the
   effects of daily CE (0.625 mg) plus MPA (2.5 mg) on the incidence of probable dementia
   (primary outcome) compared to placebo.
   After an average follow-up of 4 years, the relative risk of probable dementia for CE plus MPA
   versus placebo was 2.05 (95 percent CI, 1.21-3.48). The absolute risk of probable dementia for
   CE plus MPA versus placebo was 45 versus 22 per 10,000 women-years. Probable dementia as
   defined in this study included AD, VaD and mixed types (having features of both AD and VaD).
   The most common classification of probable dementia in the treatment group and the placebo
   group was AD. Since the ancillary study was conducted in women 65 to 79 years of age, it is
   unknown whether these findings apply to younger postmenopausal women [see Warnings and
   Precautions (5.4), and Use in Specific Populations (8.5)].
   When data from the two populations were pooled as planned in the WHIMS protocol, the
   reported overall relative risk for probable dementia was 1.76 (95 percent CI, 1.19-2.60).
   Differences between groups became apparent in the first year of treatment. It is unknown
   whether these findings apply to younger postmenopausal women [see Warnings and Precautions
   (5.4), and Use in Specific Populations (8.5)].


   15         REFERENCES
   1.   Rossouw JE, et al. Postmenopausal Hormone Therapy and Risk of Cardiovascular Disease
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   2.   Hsia J, et al. Conjugated Equine Estrogens and Coronary Heart Disease. Arch Int Med.
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   3.   Curb JD, et al. Venous Thrombosis and Conjugated Equine Estrogen in Women Without a
        Uterus. Arch Int Med. 2006; 166:772-780.
   4.   Cushman M, et al. Estrogen Plus Progestin and Risk of Venous Thrombosis. JAMA. 2004;
        292:1573-1580.
   5.   Stefanick ML, et al. Effects of Conjugated Equine Estrogens on Breast Cancer and
        Mammography Screening in Postmenopausal Women with Hysterectomy. JAMA. 2006;
        295:1647-1657.
   6.   Chlebowski RT, et al. Influence of Estrogen Plus Progestin on Breast Cancer and
        Mammography in Healthy Postmenopausal Women. JAMA. 2003; 289:3243-3253.
   7.   Anderson GL, et al. Effects of Estrogen Plus Progestin on Gynecologic cancers and
        Associated Diagnostic Procedures. JAMA. 2003; 290:1739-1748.
   8.   Shumaker SA, et al. Conjugated Equine Estrogens and Incidence of Probable Dementia and
        Mild Cognitive Impairment in Postmenopausal Women. JAMA. 2004; 291:2947-2958.
   9.   Jackson RD, et al. Effects of Conjugated Equine Estrogen on Risk of Fractures and BMD in
        Postmenopausal Women with Hysterectomy: Results from the Women’s Health Initiative
        Randomized Trial. J Bone Miner Res. 2006; 21:817-828.



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   10. Hendrix SL, et al. Effects of Conjugated Equine Estrogen on Stroke in the Women’s Health
       Initiative. Circulation. 2006; 113:2425-2434.


   16         HOW SUPPLIED/STORAGE AND HANDLING

   16.1       How Supplied
   IMVEXXY (estradiol vaginal inserts) are small, light pink, tear-shaped inserts for manual
   placement into the vagina. Inserts contain 4 mcg or 10 mcg of estradiol. Each insert is imprinted
   in white ink on one side with “04” or “10” corresponding to the insert’s dosage strengths.
   IMVEXXY (estradiol vaginal inserts), 4 mcg and 10 mcg, are provided in opaque push-through
   blisters and are packaged in cartons containing either 18 inserts for the starter pack or 8 inserts
   for the maintenance pack.

   IMVEXXY 4 mcg          8 inserts   NDC 50261-104-08
   IMVEXXY 4 mcg          18 inserts NDC 50261-104-18
   IMVEXXY 10 mcg         8 inserts   NDC 50261-110-08
   IMVEXXY 10 mcg         18 inserts NDC 50261-110-18

   Keep out of reach of children. Packages are not child-resistant.

   16.2       Storage and Handling
   Store at 20°C to 25ºC (68°F to 77ºF), excursions permitted to 15ºC to 30ºC (59ºF to 86ºF).
   [See USP Controlled Room Temperature.]


   17         PATIENT COUNSELING INFORMATION
   Advise the patient to read the FDA-approved patient labeling (Patient Information and
   Instructions for Use).

              Vaginal Bleeding
   Inform postmenopausal women of the importance of reporting vaginal bleeding to their
   healthcare provider as soon as possible [see Warnings and Precautions (5.3)].

              Possible Serious Adverse Reactions with Estrogen-Alone Therapy
   Inform postmenopausal women of possible serious adverse reactions of estrogen-alone therapy
   including Cardiovascular Disorders, Malignant Neoplasms, and Probable Dementia [see
   Warnings and Precautions (5.2, 5.3, 5.4)].




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              Possible Less Serious but Common Adverse Reactions with
              Estrogen-Alone Therapy
   Inform postmenopausal women of possible less serious but common adverse reactions of
   estrogen-alone therapy such as headache, breast pain and tenderness, nausea and vomiting.




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                                                  PATIENT INFORMATION
                                                   IMVEXXY® (ĭm vexꞌ ee)
                                                  (estradiol vaginal inserts)
Read this Patient Information before you start using IMVEXXY and each time you get a refill. There may be new information.
This information does not take the place of talking to your healthcare provider about your menopausal symptoms or your
treatment.
What is the most important information I should know about IMVEXXY (an estrogen hormone)?
   Using estrogen-alone may increase your chance of getting cancer of the uterus (womb).
   Report any unusual vaginal bleeding right away while you are using IMVEXXY. Vaginal bleeding after menopause may be
    a warning sign of cancer of the uterus (womb). Your healthcare provider should check any unusual vaginal bleeding to
    find out the cause.
   Do not use estrogen-alone to prevent heart disease, heart attacks, strokes, or dementia (decline of brain function).
   Using estrogen-alone may increase your chances of getting strokes or blood clots.
   Using estrogen-alone may increase your chance of getting dementia, based on a study of women 65 years of age or
    older.
   Do not use estrogens with progestins to prevent heart disease, heart attacks, strokes or dementia.
   Using estrogens with progestins may increase your chances of getting heart attacks, strokes, breast cancer, or blood
    clots.
   Using estrogens with progestins may increase your chance of getting dementia, based on a study of women 65 years of
    age or older.
   You and your healthcare provider should talk regularly about whether you still need treatment with IMVEXXY.
What is IMVEXXY?
IMVEXXY is a prescription medicine that contains an estrogen hormone in a vaginal insert.
What is IMVEXXY used for?
IMVEXXY is used after menopause to treat moderate to severe painful intercourse, a symptom of changes in and around your
vagina, due to menopause.
Who should not use IMVEXXY?
Do not start using IMVEXXY if you:
 have unusual vaginal bleeding. Vaginal bleeding after menopause may be a warning sign of cancer of the uterus
   (womb).
 currently have or have had certain cancers.
   Estrogens may increase the chances of getting certain types of cancers, including cancer of the breast or uterus (womb).
   If you have or have had cancer, talk with your healthcare provider about whether you should use IMVEXXY.
 currently have or have had blood clots.
 had a stroke or heart attack.
 currently have or have had liver problems.
 have been diagnosed with a bleeding disorder.
 are allergic to IMVEXXY or any of its ingredients. See the list of ingredients in IMVEXXY at the end of this leaflet.
 think you may be pregnant. IMVEXXY is not for pregnant women.
Before you use IMVEXXY, tell your healthcare provider about all of your medical conditions, including if you:
   have any unusual vaginal bleeding. Vaginal bleeding after menopause may be a warning sign of cancer of the uterus
    (womb). Your healthcare provider should check any unusual vaginal bleeding or spotting to find out the cause.
 have certain medical conditions. Your healthcare provider may need to check you more carefully if you have certain
    medical conditions, such as asthma (wheezing), epilepsy (seizures), diabetes, migraine, endometriosis, lupus,
    angioedema (swelling of face and tongue), problems with your heart, liver, thyroid, kidneys, or have high calcium levels in
    your blood.
 are going to have surgery or will be on bed rest. You may need to stop using IMVEXXY.
 are breast feeding. The hormone in IMVEXXY can pass into your breast milk.
Tell your healthcare provider about all the medicines you take, including prescription and over-the-counter medicines,
vitamins, and herbal supplements.
IMVEXXY may affect the way other medicines work, and other medicines may affect how IMVEXXY works.
How should I use IMVEXXY?

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For detailed instructions, see the step-by-step instructions for using IMVEXXY at the end of this Patient Information.
   Use IMVEXXY exactly as your healthcare provider tells you to use it.
   IMVEXXY is a vaginal insert that you place in your vagina.
   IMVEXXY is only for use in the vagina. Do not take IMVEXXY by mouth (orally).
   Estrogens should be used at the lowest dose possible for your treatment and for only as long as needed.
   Put 1 IMVEXXY insert inside your vagina, 1 time a day at about the same time for the first two weeks.
   Then put 1 IMVEXXY insert into your vagina two times a week, every three to four days (for example, Monday and
    Thursday), for as long as you use IMVEXXY.
   You and your healthcare provider should talk regularly (for example, every 3 to 6 months) about the dose you are using
    and whether you still need treatment with IMVEXXY.
What are the possible side effects of IMVEXXY?
See, “What is the most important information I should know about IMVEXXY (an estrogen hormone)?”
Side effects are grouped by how serious they are and how often they happen when you are treated.
Serious, but less common side effects could include:
 heart attack                              stroke                                   blood clots
 cancer of the ovary                       breast cancer                            cancer of the lining of the uterus (womb)
 dementia                                  gallbladder disease                      high blood calcium (hypercalcemia)
 changes in vision                         high blood pressure                      high triglyceride (fat) levels in your blood
 liver problems                            low thyroid levels in your               fluid retention
 low blood calcium (hypocalcemia)            blood                                   enlargement of benign tumors of the
 worsening of angioedema (swelling of      changes in certain laboratory             uterus (“fibroids”)
  face and tongue)                            test results
Call your healthcare provider right away if you get any of the following warning signs or any other unusual
symptoms that concern you:
   new breast lumps
   unusual vaginal bleeding
   changes in vision or speech
   sudden, new, severe headaches
   severe pains in your chest or legs with or without shortness of breath, weakness, and fatigue
The most common side effects of IMVEXXY include:
   headache
   breast tenderness or pain
   nausea and vomiting
These are not all of the possible side effects of IMVEXXY. For more information, ask your healthcare provider or pharmacist.
Tell your healthcare provider if you have any side effect that bothers you or that does not go away.
Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088. You may also
report side effects to TherapeuticsMD® at 1-888-228-0150.
What can I do to lower my chances of a serious side effect with IMVEXXY?
 Talk with your healthcare provider regularly about whether you should continue using IMVEXXY.
 If you have a uterus (womb), talk with your healthcare provider about whether the addition of a progestin is right for you.
  The addition of a progestin is generally recommended for women with a uterus to reduce the chance of getting cancer of
  the uterus.
 See your healthcare provider right away if you get vaginal bleeding while using IMVEXXY.
 Have a pelvic exam, breast exam, and mammogram (breast X-ray) every year unless your healthcare provider tells you
  something else. If members of your family have had breast cancer or if you have had breast lumps or an abnormal
  mammogram, you may need to have breast exams more often.
 If you have high blood pressure, high cholesterol (fat in the blood), diabetes, are overweight, or if you use tobacco, you
  may have a higher chance of getting heart disease. Ask your healthcare provider for ways to lower your chances of getting
  heart disease.
General information about the safe and effective use of IMVEXXY.
Medicines are sometimes prescribed for purposes other than those listed in a Patient Information leaflet. Do not use
IMVEXXY for a condition for which it was not prescribed. Do not give IMVEXXY to other people, even if they have the same


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symptoms you have. It may harm them. You can ask your pharmacist or healthcare provider for information about IMVEXXY
that is written for health professionals.
What are the ingredients in IMVEXXY?
Active ingredient: IMVEXXY (estradiol vaginal inserts) are small, light pink, tear-shaped inserts that contain estradiol.
Inactive ingredients: Each insert also contains medium chain triglycerides, polyethylene glycol stearates, ethylene glycol
palmitostearate, gelatin, hydrolyzed gelatin, sorbitol-sorbitan solution, water, glycerin, FD&C Red #40, ethanol, ethyl acetate,
propylene glycol, titanium dioxide, polyvinyl acetate phthalate, isopropyl alcohol, polyethylene glycol, ammonium hydroxide,
and lecithin. IMVEXXY is supplied in blister cartons of 18 or 8 vaginal inserts.




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                                                      Instructions for Use
                                                     IMVEXXY® (ĭm vexꞌ ee)
                                                   (estradiol vaginal inserts)

Read this Instructions for Use before you start using IMVEXXY and each time you get a refill. There may be new information.
This information does not take the place of talking to your healthcare provider about your menopausal symptoms or your
treatment.
How should I use IMVEXXY?
    IMVEXXY is an insert only for use in the vagina. Do not take by mouth.
    Put 1 IMVEXXY insert inside your vagina, 1 time a day at about the same time for the first two weeks, then put 1
      IMVEXXY insert into your vagina two times a week, every three to four days (for example, Monday and Thursday), for as
      long as you use IMVEXXY.
    Write down the days you will put in your IMVEXXY insert.
    Wash and dry your hands before handling the IMVEXXY insert.

Step 1: Push 1 IMVEXXY insert through the foil of the blister package.
Figure A




Step 2: Hold the IMVEXXY insert with the larger end between your fingers.

Figure B




Step 3: Select the best position for vaginal insertion that is most comfortable for you to put in the IMVEXXY insert. See Figure C
for suggested insertion in the lying down position or Figure D for suggested insertion in the standing position. With the smaller
end up, put the insert about two inches into your vagina using your finger.

Figure C        or      Figure D




If you have any questions, please ask your healthcare provider or pharmacist.
How should I store IMVEXXY?
 Store IMVEXXY at room temperature between 68°F to 77°F (20°C to 25°C).
 IMVEXXY packaging is not child-resistant.
Keep IMVEXXY and all medicines out of the reach of children.

For information, go to www.TherapeuticsMD.com or call TherapeuticsMD, Inc. at 1-877-833-0176


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Manufactured for: TherapeuticsMD, Inc., Boca Raton, FL 33431
Manufactured by: Catalent Pharma Solutions, LLC, St Petersburg, FL 33716

For patent information: www.TherapeuticsMD.com/patents
IMVEXXY is a registered trademark of TherapeuticsMD, Inc.
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This Patient Information and Instructions for Use has been approved by the U.S. Food and Drug Administration.

                                                                                                           IVXY-LAB-20004.3
                                                                                                             Revised: 11/2019




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Reg. No. 5,602,058         TherapeuticsMD, Inc. (NEVADA CORPORATION)
                           6800 Broken Sound Parkway Nw, Suite 300
Registered Nov. 06, 2018   Boca Raton, FLORIDA 33487

                           CLASS 5: Pharmaceutical preparations for the treatment of vulval vaginal atrophy
Int. Cl.: 5
                           FIRST USE 7-23-2018; IN COMMERCE 7-23-2018
Trademark
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register         PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 87-327,869, FILED 02-07-2017
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         REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
      WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
             DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

    Requirements in the First Ten Years*
    What and When to File:

         First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
         years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
         registration will continue in force for the remainder of the ten-year period, calculated from the registration
         date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

         Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
         for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


    Requirements in Successive Ten-Year Periods*
    What and When to File:

         You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
         between every 9th and 10th-year period, calculated from the registration date.*


    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above with
    the payment of an additional fee.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
    extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
    (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
    The time periods for filing are based on the U.S. registration date (not the international registration date). The
    deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
    nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
    do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
    international registration at the International Bureau of the World Intellectual Property Organization, under
    Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
    date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
    international registration, see http://www.wipo.int/madrid/en/.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online at h
    ttp://www.uspto.gov.

    NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
    owners/holders who authorize e-mail communication and maintain a current e-mail address with the
    USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
    Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
    available at http://www.uspto.gov.




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                                          Exhibit E
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                                          Exhibit F
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      HIGHLIGHTS OF PRESCRIBING INFORMATION                                                     ---------------------DOSAGE FORMS AND STRENGTHS----------------------
      These highlights do not include all the information needed to use                         Each pre-filled single-dose vaginal applicator delivers 5 grams of gel
      PHEXXI™ safely and effectively. See full prescribing information                          containing lactic acid (1.8%), citric acid (1%), and potassium bitartrate
      for PHEXXI.                                                                               (0.4%). (3)
                                                                                                ------------------------WARNINGS AND PRECAUTIONS-----------------------
      PHEXXI (lactic acid, citric acid, and potassium bitartrate) vaginal                       • Cystitis and Pyelonephritis: Avoid use in women with a history of
      gel                                                                                          recurrent UTI or urinary tract abnormalities (5.1)
      Initial U.S. Approval: 2020
                                                                                                -------------------------------ADVERSE REACTIONS------------------------------
      -----------------------------INDICATIONS AND USAGE--------------------------              Most common adverse reactions (≥2%) were vulvovaginal burning
      PHEXXI is a combination of lactic acid, citric acid, and potassium                        sensation, vulvovaginal pruritus, vulvovaginal mycotic infection, urinary
      bitartrate indicated for the prevention of pregnancy in females of                        tract infection, vulvovaginal discomfort, bacterial vaginosis, vaginal
      reproductive potential for use as an on-demand method of                                  discharge, genital discomfort, dysuria, and vulvovaginal pain. (6.1)
      contraception. (1)
                                                                                                To report SUSPECTED ADVERSE REACTIONS, contact Evofem at
      Limitations of Use: PHEXXI is not effective for the prevention of                         toll-free phone 1-833-EVFMBIO or FDA at 1-800-FDA-1088 or
      pregnancy when administered after intercourse.                                            www.fda.gov/medwatch.

      ------------------------DOSAGE AND ADMINISTRATION----------------------                   See 17 for PATIENT COUNSELING INFORMATION and
      • Administer one (1) pre-filled single-dose applicator of PHEXXI                          FDA-approved patient labeling.
         (5 grams) vaginally immediately before (or up to one hour before)
         each episode of vaginal intercourse (2.1)                                                                                                             Revised: 05/2020
      • May use during any part of the menstrual cycle (2.2)




      FULL PRESCRIBING INFORMATION: CONTENTS*
      1 INDICATIONS AND USAGE                                                        11 DESCRIPTION
      2 DOSAGE AND ADMINISTRATION                                                    12 CLINICAL PHARMACOLOGY
        2.1 Recommended Dosage                                                         12.1 Mechanism of Action
        2.2 Timing of PHEXXI Use                                                       12.2 Pharmacodynamics
        2.3 Use of PHEXXI with Other Contraceptive Methods                             12.3 Pharmacokinetics
        2.4 Use of PHEXXI with Other Vaginal Products                                13 NONCLINICAL TOXICOLOGY
      3 DOSAGE FORMS AND STRENGTHS                                                     13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
      5 WARNINGS AND PRECAUTIONS                                                     14 CLINICAL STUDIES
        5.1 Cystitis and Pyelonephritis                                              16 HOW SUPPLIED/STORAGE AND HANDLING
      6 ADVERSE REACTIONS                                                            17 PATIENT COUNSELING INFORMATION
        6.1 Clinical Trials Experience
      8 USE IN SPECIFIC POPULATIONS
        8.1 Pregnancy
        8.2 Lactation                                                                * Sections or subsections omitted from the full prescribing information
                                                                                     are not listed.
        8.4 Pediatric Use




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      FULL PRESCRIBING INFORMATION

      1 INDICATIONS AND USAGE
      PHEXXI is indicated for the prevention of pregnancy in females of reproductive potential for use as an
      on-demand method of contraception.

      Limitations of Use
      PHEXXI is not effective for the prevention of pregnancy when administered after intercourse [see
      Dosage and Administration (2.1)].

      2 DOSAGE AND ADMINISTRATION

      2.1 Recommended Dosage
      Administer one pre-filled applicator of PHEXXI (5 grams) vaginally immediately before or up to one
      hour before each act of vaginal intercourse. If more than one act of vaginal intercourse occurs within
      one hour, an additional dose must be applied. Five grams of PHEXXI contains 90 mg of lactic acid,
      50 mg of citric acid, and 20 mg of potassium bitartrate.

      2.2 Timing of PHEXXI Use
      May use PHEXXI during any part of the menstrual cycle. May use PHEXXI as soon as it is safe to
      resume vaginal intercourse after childbirth, abortion, or miscarriage.

      2.3 Use of PHEXXI with Other Contraceptive Methods
      PHEXXI may be used concomitantly with hormonal contraceptives; latex, polyurethane, and
      polyisoprene condoms; and vaginal diaphragms. Avoid PHEXXI use with vaginal rings.

      2.4 Use of PHEXXI with Other Vaginal Products
      PHEXXI may be used concomitantly with other products for vaginal infections including miconazole,
      metronidazole, and tioconazole.

      3 DOSAGE FORMS AND STRENGTHS
      Vaginal gel: 18 mg of lactic acid, 10 mg of citric acid, and 4 mg of potassium bitartrate in each gram
      (1.8%, 1%, and 0.4%, respectively) of off-white to tan color gel supplied in a pre-filled single-dose
      (5 grams) vaginal applicator

      5 WARNINGS AND PRECAUTIONS

      5.1 Cystitis and Pyelonephritis
      Among 2804 subjects who received PHEXXI in Studies 1 and 2, 0.36% (n=10) reported adverse
      reactions of cystitis, pyelonephritis, or other upper urinary tract infection (UTI). Of these, one case of
      pyelonephritis was considered serious and required hospitalization. Avoid use of PHEXXI in females
      of reproductive potential with a history of recurrent urinary tract infection or urinary tract abnormalities.

      6 ADVERSE REACTIONS

      The following clinically significant adverse reactions are described elsewhere in the labeling:




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           •   Cystitis and Pyelonephritis [see Warnings and Precautions (5.1)]

      6.1 Clinical Trials Experience
      Because clinical trials are conducted under widely varying conditions, adverse reaction rates
      observed in the clinical trials of a drug cannot be directly compared to rates in the clinical trials of
      another drug and may not reflect the rates observed in practice.

      The safety of PHEXXI (pre-filled applicator with 5-gram dose) has been evaluated in two clinical trials
      (Study 1 and Study 2) in 2804 subjects (over 19,000 cycles of exposure). The racial/ethnic distribution
      was 66% White, 27% Black or African American, 2% Asian, 1% American Indian or Alaska Native,
      0.3% Native Hawaiian or Pacific Islander, and 5% other; 32% of the study population was Hispanic.
      Study 1 included a one-year extension phase where 342 U.S. subjects were exposed to PHEXXI for
      13 cycles.

      Hypersensitivity Reaction
      Of the 2804 PHEXXI-treated subjects in Studies 1 and 2, one subject reported a suspected drug
      hypersensitivity. Avoid PHEXXI use in females of reproductive potential with suspected
      hypersensitivity to the ingredients in PHEXXI.

      The most common adverse reactions (≥10%) in the U.S. population in Studies 1 and 2 (n = 2480)
      were: vulvovaginal burning sensation (18.0%) and vulvovaginal pruritis (14.5%). The majority of these
      adverse reactions were mild and few led to discontinuation. Table 1 summarizes the most common
      adverse reactions (≥2%) reported by subjects using PHEXXI in the U.S.

       Table 1. Adverse Reactions that Occurred in ≥ 2% of Subjects Who Used PHEXXI to Prevent
       Pregnancy (Studies 1 and 2 – U.S. population only)
                                                                          PHEXXI
                                                                         (N=2480)
       Adverse Reaction                                                     (%)

         Vulvovaginal Burning Sensation                                                                 18.0
         Vulvovaginal Pruritus                                                                          14.5
         Vulvovaginal Mycotic Infection*                                                                 9.1
         Urinary Tract Infection†,‡                                                                      9.0
         Vulvovaginal Discomfort                                                                         9.0
         Bacterial Vaginosis                                                                             8.4
         Vaginal Discharge                                                                               5.5
         Genital Discomfort                                                                              4.1
         Dysuria                                                                                         3.1
         Vulvovaginal pain                                                                               2.1
       * Includes preferred terms (PT) vulvovaginal mycotic infection and vulvovaginal candidiasis.
       †
         Includes PTs urinary tract infection, streptococcal urinary tract infection, Escherichia urinary tract infection, and urinary
       tract infection bacterial.
       ‡
         Does not include PTs cystitis, kidney infection, and pyelonephritis [see Warnings and Precautions (5.2)].

      Among subjects who used PHEXXI in Studies 1 and 2, 1.6% discontinued from the clinical trials due
      to an adverse reaction. The most common adverse reactions leading to study discontinuation were
      vulvovaginal burning sensation (0.7%); and vulvovaginal pruritus and vulvovaginal discomfort (0.1%
      each).



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      Adverse Reactions in Male Partners
      Among male partners of subjects who used PHEXXI for contraception in Study 2, 9.8% (131 of 1330)
      reported symptoms of local discomfort (burning, itching, pain, and “other”). Of these local discomfort
      symptoms, 74.7% were mild, 21.4% were moderate, and 3.9% were severe. Two subjects
      discontinued participation in the study due to male partner symptoms.

      8 USE IN SPECIFIC POPULATIONS

      8.1 Pregnancy

      Risk Summary
      There is no use for PHEXXI in pregnancy; therefore, discontinue PHEXXI during pregnancy. There
      are no data with the use of PHEXXI in pregnant women or animals. In the U.S. general population,
      the estimated background risk of major birth defects and miscarriage in clinically recognized
      pregnancies is 2 to 4 percent and 15 to 20 percent, respectively.

      8.2 Lactation

      Risk Summary
      There are no data on the presence of lactic acid, citric acid, and potassium bitartrate or their
      metabolites in human milk, the effects on the breastfed infant, or the effects on milk production.

      8.4 Pediatric Use
      The safety and effectiveness of PHEXXI have been established in females of reproductive potential.
      Efficacy is expected to be the same for post-menarchal females under the age of 17 as for users 17
      years and older. The use of PHEXXI before menarche is not indicated.

      11 DESCRIPTION
      PHEXXI (lactic acid, citric acid, and potassium bitartrate) is a vaginal gel.

      PHEXXI is off-white to tan in color gel of uniform consistency, containing three active ingredients:
      lactic acid, citric acid, and potassium bitartrate.

      The structural formula for lactic acid is:




      Lactic acid is designated chemically as 2-hydroxypropanoic acid with an empirical formula of C3H6O3
      and a molecular weight of 90.08 g/mol.




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      The structural formula for citric acid is:




      Citric acid is designated chemically as 2-hydroxypropane-1,2,3-tricarboxylic acid with an empirical
      formula of C6H8O7 and a molecular weight of 192.124 g/mol.

      The structural formula for potassium bitartrate is:




      Potassium bitartrate is designated chemically as potassium; (2R, 3R)-2,3,4-trihydroxy-4-
      oxobutanoate with an empirical formula of KC4H5O6 and a molecular weight of 188.177 g/mol.

      Each 5 gram dose is provided in a pre-filled single-dose applicator containing lactic acid USP (1.8%
      w/w), citric acid USP (1% w/w), and potassium bitartrate USP (0.4% w/w). Inactive ingredients
      present in the gel are: glycerin, alginic acid, xanthan gum, sodium hydroxide, benzoic acid, and
      purified water.

      12 CLINICAL PHARMACOLOGY

      12.1 Mechanism of Action
      In vitro studies showed that a pH lowering effect and sperm motility reduction contribute to the activity
      of PHEXXI in the vagina.

      12.2 Pharmacodynamics
      Pharmacodynamic studies in humans have not been performed.

      12.3 Pharmacokinetics
      Pharmacokinetic studies in humans have not been performed. Systemic exposures of lactic acid,
      citric acid, and potassium bitartrate following vaginal administration of PHEXXI are not expected to
      lead to safety concerns.

      In vitro studies with commonly used vaginal preparations (miconazole, metronidazole, tioconazole,
      and a product for maintaining normal vaginal pH) showed no significant effect on the pH or buffering
      capacity of PHEXXI.

      13 NONCLINICAL TOXICOLOGY

      13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
      Carcinogenesis
      Long-term carcinogenicity studies have not been performed with PHEXXI.



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      Mutagenesis
      Mutagenic studies have not been performed with PHEXXI.

      Impairment of Fertility
      Reproductive studies have not been performed with PHEXXI. Upon discontinuation of PHEXXI,
      pregnancy may occur.

      14 CLINICAL STUDIES
      The efficacy of PHEXXI for the prevention of pregnancy was evaluated in a multi-center, open-label,
      single-arm clinical trial in the United States (AMP002; NCT03243305). The study enrolled females of
      reproductive potential 18 to 35 years of age with regular menstrual cycles (21 to 35 days). The
      median age was 27.8 years. The racial distribution was 70.6% White, 23.7% Black or African
      American, 2.5% Asian, 0.4% American Indian or Alaska Native, 0.2% Native Hawaiian or Pacific
      Islander, and 2.7% other. Subjects agreed to engage in at least 3 acts of heterosexual, vaginal
      intercourse per cycle. Subjects self-administered a 5 gram dose of PHEXXI intravaginally up to one
      hour before each episode of intercourse for up to 7 cycles.

      The primary efficacy endpoint was the 7-cycle typical use cumulative pregnancy rate as derived by
      Kaplan-Meier life-table analysis. A total of 101 on-treatment pregnancies occurred in 1183 subjects
      contributing 4769 evaluable natural cycles. The 7-cycle cumulative pregnancy rate was 13.7% (95%
      CI: 10.0%, 17.5%), excluding cycles with back-up contraception, cycles <21 days or >35 days in
      length and cycles in which no intercourse was reported. The estimated Pearl Index, calculated based
      on data from the 7-cycle study, was 27.5 (95% CI: 22.4%, 33.5%).

      16 HOW SUPPLIED/STORAGE AND HANDLING
      PHEXXI (lactic acid, citric acid, and potassium bitartrate) vaginal gel is off-white to tan color gel of
      uniform consistency containing lactic acid (1.8%), citric acid (1%), and potassium bitartrate (0.4%),
      supplied as individually wrapped 5 gram pre-filled single-dose vaginal applicators in sealed foil
      pouches along with a plunger, and are available as follows:

           •   NDC 69751-100-12          Box of 12 units

      Store in the original foil pack at room temperature 20°C to 25°C (68°F to 77°F); excursion permitted
      between 15°C to 30°C (59°F to 86°F) [see USP Controlled Room Temperature].




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      17 PATIENT COUNSELING INFORMATION
      Advise the patient to read the Patient Information and FDA-approved patient labeling (Instructions for
      Use). Advise the patient:

           •   To intravaginally administer the contents of one pre-filled single-dose applicator of PHEXXI
               before each episode of vaginal intercourse and to administer an additional dose if intercourse
               does not occur within one hour of administration [see Dosage and Administration (2.1)].
           •   To consult their healthcare provider for severe or prolonged genital irritation [see Adverse
               Reactions (6.1)].
           •   To discontinue PHEXXI if they develop a local hypersensitivity reaction [see Adverse
               Reactions (6.1)].
           •   To contact their health care provider if experiencing urinary tract symptoms [see Warnings and
               Precautions (5.1)].
           •   That PHEXXI does not protect against HIV infection and other sexually transmitted infections.


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      Bluff Drive, Suite 600, San Diego, CA 92130
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      U.S. Patent 6,706,276




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                                                      PATIENT INFORMATION
                                                          PHEXXI™ (FEX ee)
                                        (lactic acid, citric acid, and potassium bitartrate)
                                                              vaginal gel
       What is PHEXXI:
       • PHEXXI is a prescription medicine used to prevent pregnancy in females who can become pregnant and choose to
          use an on-demand method of birth control.
       • PHEXXI is not effective at preventing pregnancy when used after vaginal sex.
       How well does PHEXXI work?
       Your chance of getting pregnant depends on how well you follow the directions for using PHEXXI. The better you follow
       the directions, the less chance you have of getting pregnant. It is very important that you follow the directions carefully
       each time you have vaginal sex.
       PHEXXI does not protect against HIV infection or other sexually transmitted infections (STIs).
       Before using PHEXXI, tell your healthcare provider about all of your medical conditions, including if you:
       • are pregnant or think you are pregnant. PHEXXI is not for use in pregnant women.
       • are breastfeeding or plan to breastfeed. It is not known if PHEXXI passes into your breast milk.
       Tell your healthcare provider about all the medicines you take, including prescription and over-the-counter
       medicines, vitamins, and herbal supplements.
       Know the medicines you take. Keep a list of them to show your healthcare provider and pharmacist when you get a
       new medicine.
       How should I use PHEXXI?
       • See the Instructions for Use that comes with PHEXXI for detailed instructions on the right way to use PHEXXI.
       • Use PHEXXI exactly as your healthcare provider tells you to use it.
       • PHEXXI must be used before vaginal sex.
       • PHEXXI comes as a pre-filled single-dose vaginal applicator.
       • Insert 1 PHEXXI pre-filled applicator into your vagina and use PHEXXI within 1 hour before each time you have
          vaginal sex. If you do not have vaginal sex within 1 hour of using PHEXXI, you must insert a new PHEXXI pre-filled
          applicator.
       • If you have vaginal sex more than 1 time within 1 hour, you must use a new PHEXXI pre-filled applicator.
       • PHEXXI may be used at any time during the menstrual cycle.
       • PHEXXI may be used as soon as your healthcare provider tells you it is safe for you to have vaginal sex after
          childbirth, abortion, or miscarriage.
       • PHEXXI may be used with hormonal contraceptives; and latex, polyurethane and polyisoprene condoms. PHEXXI
          may be used with a vaginal diaphragm. Avoid using PHEXXI with contraceptive vaginal rings.
       • PHEXXI may be used with other medicines used in the vagina to treat infections including miconazole,
          metronidazole and tioconazole.
       What are the possible side effects of PHEXXI?
       PHEXXI may cause serious side effects, including:
       • Bladder infection (cystitis) and acute kidney infection (pyelonephritis). Urinary tract infections are common but
          can also be serious. You should not use PHEXXI if you have a history of urinary tract infections that keep coming
          back or other problems with your urinary tract. Call your healthcare provider if you have burning with urination or
          other signs and symptoms of a urinary tract infection such as: burning feeling when passing urine, urine that looks
          cloudy, pain in the pelvis, or back pain.
       • Allergic reactions. Avoid using PHEXXI if you are a female who can become pregnant and are allergic to lactic
          acid, citric acid, potassium bitartrate or any of the ingredients in PHEXXI; or your sexual partners are allergic to any
          of the ingredients in PHEXXI”. Stop using PHEXXI if you have a local vulvovaginal reaction.
       The most common side effects of PHEXXI include:
          • vaginal burning                           • discomfort around the vaginal        •    vaginal discharge
          • vaginal itching                               area                               •    discomfort in the genital area
          • vaginal yeast infection                   • bacterial vaginosis                  •    pain while passing urine
       These are not all the possible side effects of PHEXXI.
       Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088.
       How should I store PHEXXI?
       • Store PHEXXI at room temperature between 68°F to 77°F (20°C to 25°C).
       • Store PHEXXI in the original foil pouch.
       Keep PHEXXI and all medicines out of the reach of children.




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       General information about the safe and effective use of PHEXXI.
       Medicines are sometimes used for purposes other than those listed in a Patient Information leaflet. Do not use PHEXXI
       for a condition for which it was not prescribed. Do not give PHEXXI to other people, even if they have the same
       symptoms that you have. It may harm them.
       You can ask your healthcare provider or pharmacist for information about PHEXXI that is written for health
       professionals.
       What are the ingredients in PHEXXI?
       Active ingredients: lactic acid, citric acid, and potassium bitartrate
       Inactive ingredients: glycerin, alginic acid, xanthan gum, sodium hydroxide, benzoic acid, and purified water
       Manufactured for Evofem, Inc., a wholly owned subsidiary of Evofem Biosciences, Inc.
       ©2020 Evofem, Inc. All rights reserved. Unless otherwise indicated, all trademarks used herein are the property of Evofem Biosciences, Inc.
       For more information, go to www.phexxi.com or call 1-833-EVFMBIO.
      This Patient Information has been approved by the U.S. Food and Drug Administration                                                            Issued: May 2020




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                                                 INSTRUCTIONS FOR USE
                                                      PHEXXI™ (FEX ee)
                                    (lactic acid, citric acid, and potassium bitartrate)
                                                          vaginal gel

                                                   For Vaginal Use Only

               These Instructions for Use contains information on how to use PHEXXI vaginal gel.
               Make sure that you read, understand, and follow the Instructions for Use before using
               PHEXXI and each time you get a refill. There may be new information.

               Contents:
               •    Each box contains 12 foil pouches.
               •    Each foil pouch contains a pre-filled applicator and plunger rod (see Figure A).
               •    Each pre-filled applicator contains 1 dose of PHEXXI for 1-time use (single use).




                                                                                                       Figure A


               Important Information You Need to Know Before Using PHEXXI
               •    Use 1 dose of PHEXXI within 1 hour before you have vaginal sex.
               •    A new PHEXXI pre-filled applicator must be used each time you have vaginal sex. If
                    you have vaginal sex more than 1 time within 1 hour, a new PHEXXI pre-filled
                    applicator must be used.




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                                                     Prepare to Use PHEXXI
             Keep the pre-filled applicator and plunger rod in the foil pouch until you are ready to use PHEXXI.

             Step 1: Wash Your Hands
             •   Wash your hands with soap and water before opening the foil pouch.



             Step 2: Remove the Pre-filled Applicator and Plunger Rod from the Foil Pouch
             •   Remove the pre-filled applicator and plunger rod
                 from the foil pouch (see Figure B).




                                                                                                         Figure B
             Important: Do not remove the pink cap until instructed in Step 4.




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                                                           Insert PHEXXI Gel
             Step 3: Insert the Plunger Rod
             •   Gently and slowly insert the plunger rod into the
                 pre-filled applicator. Push until you feel the tip of
                 the plunger rod connect to the inside of the
                 pre-filled applicator (see Figure C).


             •   Do not push hard or continue to push after the tip
                 of the plunger rod connects to the inside of the
                 pre-filled applicator. This could cause the gel to
                 go into the pink cap.
                                                                                  Figure C
             •   Use a new pre-filled applicator if the gel goes into
                 the pink cap.



             Step 4: Remove the Pink Cap
             •   After the plunger rod is connected to the pre-filled
                 applicator, remove the pink cap from the pre-filled
                 applicator (see Figure D).


             •   The extra space between the gel and the end of
                 the pre-filled applicator is normal.

             •   The pre-filled applicator is now ready for use.
                                                                                  Figure D
             Step 5: Insert the PHEXXI Pre-filled Applicator into the Vagina


             •   Hold the pre-filled applicator at the grooved area
                 closest to the plunger rod (see Figure E).



             •   Gently insert the pre-filled applicator into the
                 vagina as far as it will comfortably go while you
                 continue to hold it by the grooved area firmly.
                 This can be done sitting with your knees apart,                  Figure E
                 lying on your back with your knees bent (see




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                 Figure F), or while standing with your feet apart or
                 knees bent.




                                                                                                      Figure F

             Step 6: Insert PHEXXI Gel
             •   While the pre-filled applicator is inserted in your
                 vagina, use your index finger to push the plunger
                 rod down until it stops. This is to make sure you
                 receive the entire dose of PHEXXI (see Figure G).
             •   It is normal for a small amount of gel to be left in
                 the applicator. You will still get the right dose.




                                                                                                     Figure G

             Step 7: Remove the Used PHEXXI Pre-filled Applicator
             •   Gently remove the plunger rod and pre-filled
                 applicator from the vagina (see Figure H) and
                 throw away (dispose of) the used pre-filled
                 applicator.
             •   PHEXXI should be used within 1 hour before
                 each time you have vaginal sex. Use a new
                 pre-filled applicator if you do not have vaginal sex
                 within 1 hour of inserting PHEXXI gel and you still
                 plan to have vaginal sex.
                                                                                                     Figure H


                                                      Disposing of PHEXXI
             Step 8: Throw Away (Dispose of) the Used PHEXXI Pre-filled Applicator
             •   Used PHEXXI pre-filled applicators and caps should be disposed of in the trash. The cap may
                 be a potential choking hazard.




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                                                       Storing PHEXXI
             •   Store PHEXXI at room temperature between 68°F to 77°F (20°C to 25°C).
             •   Store PHEXXI in the original foil pouch.
             Keep PHEXXI and all medicines out of the reach of children.


            These Instructions for Use have been approved by the U.S. Food and Drug Administration.


            For more information, including full prescribing information and information on patient safety, go to
            www.phexxi.com or call 1-833-EVFMBIO.


            Manufactured for Evofem, Inc., a wholly owned subsidiary of Evofem Biosciences, Inc.


            Issued: May 2020




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                                          Exhibit G
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          INSTRUCTIONS FOR USE      PRESCRIBING INFORMATION    PATIENT INFORMATION                                             HEALTHCARE PROFESSIONALS


                          HANTASTIC! SAVE WITH PHEXXI™. $0 CO-PA FOR FIRST FILL FOR
                                                                                                                           LEARN MORE
                         ELIGIBLE PATIENTS!




                                                                                                                                 Ta       a

                                                                                                                                 ab       P      ™
                                                                                                                                      !




                                                                                                                           +
                                       pHABULOUS!

                                 Are you one of the millions of women who
                                                   have said

                                  ENOUGH IS ENOUGH
                                                 to hormones?




                                               THEN IT S TIME FOR FIRST-IN-CLASS,
                                                   FDA-APPROVED PHEXXI™
                            Phexxi™ is a non-hormonal, prescription vaginal gel used to prevent pregnancy in females who
                                 choose to use an on-demand method of birth control. Phexxi™ is only effective when used
                                               immediately             (or up to 1 hour before) each act of vaginal sex.



                                    Phexxi™ does not protect against any sexually transmitted infections, including HIV.


                                                                            LEARN MORE




          IMPORTANT SAFET INFORMATION                                                                                                                 +
            HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I™?
          There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the cases
          was serious. Avoid Phexxi™ if you have had repeated urinary tract infections or other urinary tract problems.
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          The                              were vaginal burning, vaginal itching, vaginal yeast infection, urinary tract infection,
          vaginal area discomfort, bacterial vaginosis, and vaginal discharge. Women also reported genital discomfort, pain while
          urinating, and vaginal pain. Some male partners reported genital discomfort.




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                                                                                                                     ab       P   ™
                                                                                                                          !




                                                                                                            +
                                                   HORMONE pHREE!
                                                                Phexxi™ is a new,

                                                         HORMONE-FREE
                                                                contraceptive gel.

                              Phexxi™ works to maintain vaginal pH, which reduces sperm mobility, lowering the
                                                       chance of sperm reaching the egg.



                                          Phexxi™ is not effective when used after vaginal intercourse.


                                                                LEARN MORE




                               Phexxi™ is designed to be used

                                IN THE MOMENT.

          IMPORTANT SAFET    INFORMATION
                     Phexxi™ works immediately and keeps                                                                                 +
                          working up to 1 hour after application for 1
            HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I™?
                                       act of vaginal sex.
          There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the cases
          was serious. Avoid Phexxi™ if you have had repeated urinary tract infections or other urinary tract problems.
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          The                              were vaginal burning, vaginal itching, vaginal yeast infection, urinary tract infection,
                                        LEARN    MORE
          vaginal area discomfort, bacterial vaginosis, and vaginal discharge. Women also reported genital discomfort, pain while
          urinating, and vaginal pain. Some male partners reported genital discomfort.




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                                                                                                                                         ab           P      ™
                                                                                                                                                  !




                                                                                                                              +
                      LET'S GET STARTED                                  SAVE ON YOUR CO-PAY                       ANY QUESTIONS?

                         HERE S HOW TO USE                                            LEARN HOW                        GET MORE INFO
                                  PHEXXI™




                 pHOLLOW US



            IMPORTANT SAFET INFORMATION
              HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I™?
            There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the
            cases was serious. Avoid Phexxi™ if you have had repeated urinary tract infections or other urinary tract problems.

            The                              were vaginal burning, vaginal itching, vaginal yeast infection, urinary tract infection,
            vaginal area discomfort, bacterial vaginosis, and vaginal discharge. Women also reported genital discomfort, pain while
            urinating, and vaginal pain. Some male partners reported genital discomfort.

               HAT ELSE SHOULD I KNO ABOUT USING PHE I™?
            Phexxi™ does not protect against any sexually transmitted diseases, including HIV. Avoid using Phexxi™ with a vaginal
            ring.

            Contact your healthcare provider if you are experiencing severe genital irritation or discomfort or urinary tract
            symptoms. Avoid Phexxi™ if you or your sexual partner is allergic to lactic acid, citric acid, potassium bitartrate, or any of
            the ingredients in Phexxi™. Stop using Phexxi™ if you develop an allergic reaction.

            P                   P                I                            P   ™,            P       I          .

            P                                                           E         B         ®       -       1-833-E FMBIO                    FDA
            1-800-FDA-1088                   .       .       /                .

               HAT IS PHE I™?
            Phexxi™ is a prescription vaginal gel used to prevent pregnancy in females who choose to use an on-demand method
            of birth control. Phexxi™ is only effective when used immediately       (or up to one hour before) each act of vaginal
            sex. Phexxi™ is not effective when used after vaginal sex.


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                                    •
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                                        only.




          IMPORTANT SAFET INFORMATION                                                                                                                               +
            HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I™?
          There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the cases
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      INSTRUCTIONS FOR USE                         HANTASTIC!
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                                                                  PATIENT   PHEXXI . $0 CO-PA FOR FIRST FILL FOR ELIGIBLE PATIENTS!
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                          HANTASTIC! SAVE WITH PHEXXI . $0 CO-PA FOR FIRST FILL FOR
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                         ELIGIBLE PATIENTS!




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                                                                                                                    PHEXXI
                                                                                                      A NEW, FDA-APPROVED,
                                                                                                HORMONE-FREE BIRTH CONTROL




                                                                                             If you re like many women, you re ready for

                             Not actual size.
                                                                                            A NEW BIRTH CONTROL
                                                                                                 METHOD THAT FITS
                                                                                                  YOUR LIFESTYLE.
                                                                                           Phexxi    is an easily reversible option that can
                                                                                            keep your plans for the future on schedule.




                                      Phexxi    does not protect against any sexually transmitted infections, including HIV.




                                                       HOW PHE                              I       WORKS

                                        PHEXXI             WORKS TO MAINTAIN VAGINAL H,
                                        which reduces sperm mobility, lowering the chance of sperm reaching the egg.




                             PHEXXI               AND
              VAGINAL
      IMPORTANT           H
                SAFET INFORMATION                                                                                                                           +
        HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
      There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the cases
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      vaginal area discomfort,   bacterial
                     3.5 to 4.5. When      vaginosis,
                                        semen   (sperm)and vaginal
                                                         enters  thedischarge. Women also reported genital discomfort, pain while
      urinating, and vaginal pain. Some male partners reported genital discomfort.
                     vagina, it raises the vagina's pH level, which
                             allows sperm to be mobile and swim up the
                             reproductive canal. Phexxi        keeps the
                             vaginal pH in the range of 3.5 to 4.5 to reduce
                                                                                                                                         T
                             sperm mobility, lowering the chance of
                             sperm reaching the egg. Phexxi          is designed                                                                 P
                             to stay in place in the vagina during                                                                           !




                                                                                                                            +
                             intercourse.




                                      Avoid Phexxi     if you or your partner is allergic to any of the ingredients in Phexxi .




                                     A HRESH TAKE!

                               Phexxi      is not like traditional methods. It is a


                                      FIRST-IN-CLASS
                                    CONTRACEPTIVE GEL.




                                    PHEXXI                HAS BEEN APPROVED BY THE
                                                                 FDA
                                                                   Phexxi   has demonstrated that


                                                            IT IS EFFECTIVE AT
                                                         PREVENTING PREGNANCY.




                                     POSSIBLE SIDE EFFECTS OF PHEXXI
      IMPORTANT SAFET INFORMATION                                                                                                                      +
        HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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      The
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                                       were vaginal
                                     HANTASTIC!       burning,
                                                SAVE WITH PHEXXIvaginal   itching,
                                                                 . $0 CO-PA        vaginal
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                                                                                       FILL FOR    infection,
                                                                                                ELIGIBLE      urinary tract infection,
                                                                                                         PATIENTS!
      vaginal area discomfort, bacterial vaginosis, and vaginal discharge. Women also reported genital discomfort, pain while
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                               USING PHEXXI BECAUSE OF SIDE EFFECTS.
      urinating, and vaginal pain. Some male partners reported genital discomfort.


                         The                                      were vaginal burning, vaginal itching, vaginal yeast infection,
                            urinary tract infection, vaginal area discomfort, bacterial vaginosis, and vaginal discharge.
                          Women also reported genital discomfort, pain while urinating, and vaginal pain. Some male
                                                                                                                 T
                                   partners reported genital discomfort (including burning, itching, and pain).
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                         Avoid Phexxi     if you have had repeated urinary tract infections or other urinary tract problems,
                          you or your partner is allergic to any of the ingredients in Phexxi , or you are using a vaginal
                                                                               ring.




                       USING PHEXXI                        SAVE ON YOUR CO-PAY                                ANY QUESTIONS?

                          WATCH VIDEO                                      LEARN HOW                              GET MORE INFO




                  HOLLOW US



            IMPORTANT SAFET INFORMATION
              HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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            The                              were vaginal burning, vaginal itching, vaginal yeast infection, urinary tract infection,
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               HAT ELSE SHOULD I KNO ABOUT USING PHE I ?
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            ring.

            Contact your healthcare provider if you are experiencing severe genital irritation or discomfort or urinary tract
            symptoms. Avoid Phexxi if you or your sexual partner is allergic to lactic acid, citric acid, potassium bitartrate, or any of
            the ingredients in Phexxi . Stop using Phexxi if you develop an allergic reaction.

            P               P             I                   P            ,               P       I          .

            P                                             E            B               ®       -       1-833-E FMBIO               FDA
            1-800-FDA-1088            .       .   /           .

          HAT IS PHE I ?
       Phexxi is a prescription vaginal gel used to prevent pregnancy in females who choose to use an on-demand method
      IMPORTANT
       of birth control.SAFET
                         Phexxi isINFORMATION
                                   only effective when used immediately       (or up to one hour before) each act of vaginal                             +
       sex. Phexxi is not effective when used after vaginal sex.
            HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
        There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the cases
           Trademark owned by Evofem Biosciences.
        was    serious.
           © 2020         Avoid Phexxi
                  Evofem Biosciences.          if you have
                                       EVFM-US-000487      had repeated
                                                        September 2020  urinary tract infections or other urinary tract problems.
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                                                                                                           ELIGIBLE      urinary tract infection,
                                                                                                                    PATIENTS!                             LEARN M
                            only.
      vaginal area discomfort, bacterial vaginosis, and vaginal discharge. Women also reported genital discomfort, pain while
      urinating, and vaginal pain. Some male partners reported genital discomfort.




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      IMPORTANT SAFET INFORMATION                                                                                                                         +
        HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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                            ELIGIBLE PATIENTS!




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                                                                                                  A NEW, FDA-APPROVED,
                                                                                            HORMONE-FREE BIRTH CONTROL




                                                 PHEXXI IS READY TO USE RIGHT IN THE
                                                MOMENT, WHENEVER THE MOOD STRIKES


                                                               KNOW THE pHACTS!

                                                    PHEXXI                 PUTS YOU IN CONTROL
                                  Insertion of a Phexxi        applicator is similar to inserting a tampon

                                  Phexxi   doesn't have to be used alone. You can use it with other birth control methods such
                                  as condoms or diaphragms, but not with a vaginal ring

                                  For your convenience, Phexxi          comes in individually wrapped, single-dose applicators

                                  An additional dose of Phexxi         needs to be used before each act of sex

                                  Phexxi   is only effective when used immediately before (or up to 1 hour before) each act of
                                  vaginal sex




       IMPORTANT SAFET INFORMATION                                                                                                                       +
         HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
       There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the cases
       was serious. Avoid Phexxi if you have had repeated urinary tract infections or other urinary tract problems.
https://phexxi.com/using-phexxi                                                                                                                              1/4
12/9/2020                         Case 9:20-cv-82296-RAR Document 37 Using
                                                                     Entered      on FLSDGel
                                                                           Phexxi Contraceptive Docket
                                                                                                 Phexxi 06/16/2021 Page 105 of 140

       The                              were vaginal burning, vaginal itching, vaginal yeast infection, urinary tract infection,
       vaginal area discomfort, bacterial vaginosis, and vaginal discharge. Women also reported genital discomfort, pain while
       urinating, and vaginal pain. Some male partners reported genital discomfort.




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                                    Phexxi      does not protect against any sexually transmitted infections, including HIV.




                                                               A pHRESH TAKE

                                                                    Learn how to use Phexxi




                                        04:49




                                                            DOWNLOAD THE INSTRUCTIONS




                                                                pHENOMENAL!

       IMPORTANT SAFET INFORMATION                                                                                                                    +
         HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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https://phexxi.com/using-phexxi                                                                                                                           2/4
12/9/2020                            Case 9:20-cv-82296-RAR Document 37 Using
                                                                        Entered      on FLSDGel
                                                                              Phexxi Contraceptive Docket
                                                                                                    Phexxi 06/16/2021 Page 106 of 140

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                                  Percentages based on study participant responses to questionnaires administered during the
                                   AMPOWER clinical study on product satisfaction. Questionnaires have not been validated.




                                        9.8% of male partners reported symptoms of local discomfort during clinical study.




                         WHAT IS PHEXXI ?                         SAVE ON YOUR CO-PAY                            ANY QUESTIONS?

                                   LEARN MORE                                  LEARN HOW                             GET MORE INFO




                 pHOLLOW US



            IMPORTANT SAFET INFORMATION
              HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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            urinating, and vaginal pain. Some male partners reported genital discomfort.

               HAT ELSE SHOULD I KNO ABOUT USING PHE I ?
            Phexxi does not protect against any sexually transmitted diseases, including HIV. Avoid using Phexxi                        with a vaginal
            ring.

            Contact your healthcare provider if you are experiencing severe genital irritation or discomfort or urinary tract
            symptoms. Avoid Phexxi if you or your sexual partner is allergic to lactic acid, citric acid, potassium bitartrate, or any of
            the ingredients in Phexxi . Stop using Phexxi if you develop an allergic reaction.

            P                       P             I                  P         ,          P        I             .

            P                                                    E         B                  -        1-833-E FMBIO                    FDA
            1-800-FDA-1088                    .       .   /          .
       IMPORTANT SAFET INFORMATION
            HAT IS PHE I ?
                                                                                                                                                         +
         Phexxi is a prescription vaginal gel used to prevent pregnancy in females who choose to use an on-demand method
         HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
         of birth control. Phexxi is only effective when used immediately         (or up to one hour before) each act of vaginal
       There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the cases
         sex. Phexxi is not effective when used after vaginal sex.
       was serious. Avoid Phexxi if you have had repeated urinary tract infections or other urinary tract problems.
https://phexxi.com/using-phexxi                                                                                                                              3/4
12/9/2020                         Case 9:20-cv-82296-RAR Document 37 Using
                                                                     Entered      on FLSDGel
                                                                           Phexxi Contraceptive Docket
                                                                                                 Phexxi 06/16/2021 Page 107 of 140

       The                                        were vaginal burning, vaginal itching, vaginal yeast infection, urinary tract infection,
         Trademark owned by Evofem Biosciences.
       vaginal   areaBiosciences.
           2020 Evofem discomfort,       bacterial vaginosis,
                                     EVFM-US-000487              and vaginal discharge. Women also reported genital discomfort, pain while
                                                      September 2020
       urinating, and vaginal pain.           Some
                                      This site     male partners
                                                is intended    for USreported
                                                                      residentsgenital discomfort.                 PRIVACY POLICY | TERMS OF SERVICE

                                      only.




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       IMPORTANT SAFET INFORMATION                                                                                                                     +
         HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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                                                                                                             and Support Phe i   Page 108 of 140
       INSTRUCTIONS FOR USE              PRESCRIBING INFORMATION    PATIENT INFORMATION                                                      HEALTHCARE PROFESSIONALS


                            HANTASTIC! SAVE WITH PHEXXI . $0 CO-PA FOR FIRST FILL FOR
                                                                                                                                     LEARN MORE
                           ELIGIBLE PATIENTS!




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                                                                                                                      PHEXXI
                                                                                                        A NEW, FDA-APPROVED,
                                                                                                  HORMONE-FREE BIRTH CONTROL




                                           PERSONALI ED SUPPORT FOR YOU

                                              OUR NURSE EDUCATION SPECIALISTS ARE
                                                         HERE TO HELP!
                                Take a quick survey to see if you are eligible to connect with our Nurse Education Specialists to
                                 determine if hormone-free Phexxi               contraceptive gel is right for you. They are standing by to
                                  answer questions on how Phexxi               works, where to get Phexxi , how to save money on your
                                                                        Phexxi     prescription, and more!




       IMPORTANT SAFET INFORMATION                                                                                                                                  +
         HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE       GETI STARTED
                                                               ?          HERE
       There have been a few cases of urinary bladder infection and kidney infection reported in clinical studies. One of the cases
       was serious. Avoid Phexxi if you have had repeated urinary tract infections or other urinary tract problems.
https://phe i.com/sa ings-and-support                                                                                                                                   1/3
12/9/2020                               Case 9:20-cv-82296-RAR Document
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       The                              were vaginal burning, vaginal itching, vaginal yeast infection, urinary tract infection,
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       urinating, and vaginal pain. Some male partners reported genital discomfort.




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                                                                  SAVE ON PHE                                 I !

                                             $0 CO-PAY FOR YOUR FIRST PRESCRIPTION
                                            Pay as little as $30 on future prescriptions for eligible patients with commercial
                                                                    insurance. Terms and conditions apply.


                                                                             SIGN UP AND SAVE




                                                   READY FOR A PRESCRIPTION?

                                TALK WITH A DOCTOR NOW THROUGH TELEHEALTH
                                                           They can help you get a prescription for Phexxi           today.


                                                                               CONNECT NOW




       IMPORTANT SAFET INFORMATION                                                                                                                             +
         HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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https://phe i.com/sa ings-and-support                                                                                                                              2/3
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       vaginal area discomfort, bacterial vaginosis, and vaginal discharge. Women also reported genital discomfort, pain while
       urinating, and vaginal pain. Some male partners reported genital discomfort.


                        LET'S GET STARTED                                          USING PHEXXI                           ANY QUESTIONS?

                                                                                                                                                   T
                            HERE S HOW TO USE                                       WATCH VIDEO                               GET MORE INFO
                                        PHEXXI                                                                                                                  P
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                    HOLLOW US



            IMPORTANT SAFET INFORMATION
              HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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            ring.

            Contact your healthcare provider if you are experiencing severe genital irritation or discomfort or urinary tract
            symptoms. Avoid Phexxi if you or your sexual partner is allergic to lactic acid, citric acid, potassium bitartrate, or any of
            the ingredients in Phexxi . Stop using Phexxi if you develop an allergic reaction.

            P                           P             I                        P        ,          P       I              .

            P                                                            E          B          ®       -        1-833-E FMBIO                       FDA
            1-800-FDA-1088                        .       .   /                .

               HAT IS PHE I ?
            Phexxi is a prescription vaginal gel used to prevent pregnancy in females who choose to use an on-demand method
            of birth control. Phexxi is only effective when used immediately       (or up to one hour before) each act of vaginal
            sex. Phexxi is not effective when used after vaginal sex.


            Trademark owned by Evofem Biosciences.
            © 2020 Evofem Biosciences.  EVFM-US-000487        September 2020

                                             This site is intended for US residents                                                PRIVACY POLICY      |   TERMS OF SERVICE

                                             only.




       IMPORTANT SAFET INFORMATION                                                                                                                                            +
         HAT ARE THE POSSIBLE SIDE EFFECTS OF PHE I ?
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https://phe i.com/sa ings-and-support                                                                                                                                             3/3
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      INSTRUCTIONS FOR USE                            HAN A IC!
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                        ELIGIBLE PA IEN !




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                                                                                                                               ASKED QUESTIONS




                    CLICK ON EACH QUESTION TO SEE MORE

                           WHAT IS PHEXXI ?




                                                                                                                                                         +
                                                P                ?

                                         Phexxi (pronounced FEX-ee, like sexy!) is a non-hormonal, prescription vaginal
                                         gel used to prevent pregnancy in females who choose to use an on-demand
                                         method of birth control. Phexxi is only effective when used immediately
                                         (or up to 1 hour before) each act of vaginal sex. Phexxi is not effective when used
                                         after vaginal sex.




                                                                                           P         ?



                                D           P                                          ?



                                I P                                         ?



                                I P                                  -                 -                 ?



                                          P                                                    ?




                           GETTING PHEXXI                                                                                                                  +
      IMPO            AN            AFE           INFO MA ION                                                                                                                +
                           HOW TO USE PHEXXI                                                                                                               +
         HA A E HE PO IBLE IDE EFFEC              OF PHE I (                ,            ,                           )
      1.8%, 1%, 0.4%?
                    HOW
      If you have had        DOES
                      a history       PHEXXI
                                of repeated       WORK?
                                            urinary tract infections or other urinary tract problems, avoid Phexxi .
                                                                                                                                                           +
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12/10/2020                          Case 9:20-cv-82296-RAR Document 37Phe Entered
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                                                                                                        i         Page 112 of 140
      The                              were
                                     HAN     vaginal
                                          A IC!       burning,
                                                SAVE WITH PHEXXIvaginal   itching,
                                                                 . $0 CO-PA  FO FI vaginal  yeast
                                                                                      FILL FO     infection,
                                                                                              ELIGIBLE PA IENurinary
                                                                                                                !    tract infection,        LEA N M
      vaginal area discomfort, bacterial vaginosis, and vaginal discharge. Women also reported genital discomfort, pain while
      urinating, andWHAT     ARESome
                     vaginal pain.  THEmaleSIDE    EFFECTS?
                                              partners   reported genital discomfort.                                                +
                           WHAT S IN A BOX OF PHEXXI ?                                                                               +
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                           WHO MAKES PHEXXI ?                                                                                        +! P
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                                        YOU VE GOT A pHRIEND IN PHEXXI !

                                                                     SUPPORT AND SAVINGS:




                                                                              PATIENT BROCHURE




                                                                                INSTRUCTIONS
                                                                                   FOR USE




                                                                               CO-PAY SAVINGS




                     LET'S GET STARTED                                         WHAT IS PHEXXI ?                USING PHEXXI
      IMPO            AN            AFE
                         HERE S HOW TO USE
                                                INFO MA ION
                                                                                  LEARN MORE                      WATCH VIDEO
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         HA A E HE POPHEXXI  IBLE IDE EFFEC       OF PHE I (                ,            ,                           )
      1.8%, 1%, 0.4%?
      If you have had a history of repeated urinary tract infections or other urinary tract problems, avoid Phexxi .
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      The                              were
                                     HAN     vaginal
                                          A IC!       burning,
                                                SAVE WITH PHEXXIvaginal   itching,
                                                                 . $0 CO-PA  FO FI vaginal  yeast
                                                                                      FILL FO     infection,
                                                                                              ELIGIBLE PA IENurinary
                                                                                                                !    tract infection,                              LEA N M
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      urinating, and vaginal pain. Some male partners reported genital discomfort.
                pHOLLOW US


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         IMPO              AN            AFE           INFO MA ION                                                                              ab         P
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            HA A E HE PO IBLE IDE EFFEC              OF PHE I (                ,            ,                           )




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         1.8%, 1%, 0.4%?
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         P                          P                   I                             P        ,   P       I         .

         P                                                                        E        B           -       1-833-E FMBIO                    FDA
         1-800-FDA-1088                            .        .      /                  .

           HA I PHE I ?
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         birth control. Phexxi is only effective when used immediately        (or up to one hour before) each act of vaginal sex.
         Phexxi is not effective when used after vaginal sex.


         Phexxi is a registered trademark of Evofem Biosciences, Inc.
         Trademarks, registered or otherwise, are the property of their respective owner(s).
             2020 Evofem Biosciences, Inc.     EVFM-US-000967          November 2020
                                                                                                                               PRIVACY POLICY   |    TERMS OF SERVICE
                                             This site is intended for US residents
                                             only.




      IMPO              AN          AFE             INFO MA ION                                                                                                         +
         HA A E HE PO IBLE IDE EFFEC              OF PHE I (                ,            ,                           )
      1.8%, 1%, 0.4%?
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Case 9:20-cv-82296-RAR Document 37 Entered on FLSD Docket 06/16/2021 Page 114 of 140




                                          Exhibit H
     Case
12/10/2020    9:20-cv-82296-RAR DocumentPhExXi.com
                                          37 Entered      on FLSD
                                                   WHOIS, DNS, & DomainDocket    06/16/2021 Page 115 of 140
                                                                       Info - DomainTools




   Home > Whois Lookup > PhExXi.com



   Whois Record for PhExXi.com
    Domain Profile

    Registrant Org                Evofem, Inc.

    Registrant Country            us

    Registrar                     GoDaddy.com, LLC
                                  IANA ID: 146
                                  URL: http:/
                                           /www.godaddy.com
                                  Whois Server: whois.godaddy.com


                                  (p)

    Registrar Status              clientDeleteProhibited, clientRenewProhibited, clientTransferProhibited,
                                  clientUpdateProhibited

    Dates                         475 days old                                                               
                                  Created on 2019-08-23
                                  Expires on 2021-08-23
                                  Updated on 2019-08-23

    Name Servers                  NS55.DOMAINCONTROL.COM (has 56,557,131 domains)                            
                                  NS56.DOMAINCONTROL.COM (has 56,557,131 domains)

    Tech Contact                  —

    IP Address                    34.210.182.99 - 44 other sites hosted on this server                       

    IP Location                         - Oregon - Portland - Amazon Technologies Inc.

    ASN                                 AS16509 AMAZON-02, US (registered May 04, 2000)

    Domain Status                 Registered And Active Website

    IP History                    11 changes on 11 unique IP addresses over 1 years                          

    Registrar History             1 registrar                                                                

    Hosting History               1 change on 2 unique name servers over 1 year                              

    Website

    Website Title                       500 SSL negotiation failed:                                          

    Response Code                 500

   Whois Record ( last updated on 2020-12-10 )
https://whois.domaintools.com/phexxi.com                                                                         1/4
     Case
12/10/2020    9:20-cv-82296-RAR DocumentPhExXi.com
                                          37 Entered      on FLSD
                                                   WHOIS, DNS, & DomainDocket    06/16/2021 Page 116 of 140
                                                                       Info - DomainTools


     Domain Name: phexxi.com
     Registry Domain ID: 2426103906_DOMAIN_COM-VRSN
     Registrar WHOIS Server: whois.godaddy.com
     Registrar URL: http://www.godaddy.com
     Updated Date: 2019-08-23T16:37:14+00:00
             2019-08-23
     Creation Date: 2019-08-23T16:37:14+00:00
             2019-08-23
     Registrar Registration Expiration Date: 2021-08-23T16:37:14+00:00
             2021-08-23
     Registrar: GoDaddy.com, LLC
     Sponsoring Registrar IANA ID: 146
     Registrar Abuse Contact Email:
     Registrar Abuse Contact Phone: 14806242505
     Status:
             clientDeleteProhibited
             clientRenewProhibited
             clientTransferProhibited
             clientUpdateProhibited
     Registry Registrant ID:
     Registrant Name:
     Registrant Organization: Evofem, Inc.
     Registrant Street:
     Registrant City:
     Registrant State/Province: California
     Registrant Postal Code:
     Registrant Country: us
     Registrant Phone:
     Registrant Phone Ext:
     Registrant Fax:
     Registrant Fax Ext:
     Registrant Email: REDACTED FOR PRIVACY (DT)
     Registry Admin ID:
     Admin Name:
     Admin Organization:
     Admin Street:
     Admin City:
     Admin State/Province:
     Admin Postal Code:
     Admin Country:
     Admin Phone:
     Admin Phone Ext:
     Admin Fax:
     Admin Fax Ext:
     Admin Email: REDACTED FOR PRIVACY (DT)
     Registry Tech ID:
     Tech Name:
     Tech Organization:
     Tech Street:
     Tech City:
     Tech State/Province:
     Tech Postal Code:
     Tech Country:
     Tech Phone:
     Tech Phone Ext:
     Tech Fax:
     Tech Fax Ext:
     Tech Email: REDACTED FOR PRIVACY (DT)
     Registry Billing ID:
     Billing Name:
     Billing Organization:
     Billing Street:
     Billing City:

https://whois.domaintools.com/phexxi.com                                                                      2/4
     Case
12/10/2020    9:20-cv-82296-RAR DocumentPhExXi.com
                                          37 Entered      on FLSD
                                                   WHOIS, DNS, & DomainDocket    06/16/2021 Page 117 of 140
                                                                       Info - DomainTools
     Billing State/Province:
     Billing Postal Code:
     Billing Country:
     Billing Phone:
     Billing Phone Ext:
     Billing Fax:
     Billing Fax Ext:
     Billing Email:
     Nameservers:
             ns55.domaincontrol.com
             ns56.domaincontrol.com
     DNSSEC: unsigned




   Tools

                                                   Hosting History

     Monitor Domain Properties                                                                          

     Reverse IP Address Lookup                                                                          

     Network Tools                                                                                      

                                                  Buy This Domain 

                                                    Visit Website



                                            Preview the Full Domain Report

   Available TLDs


     General TLDs           Country TLDs

    The following domains are available through our preferred partners. Select domains below for more
    information. (3rd party site)
        Taken domain.
        Available domain.
        Deleted previously owned domain.

     PhExXi.com                                                                                    View Whois

      PhExXi.net                                                                                   View Whois

      PhExXi.org                                                                                   View Whois

      PhExXi.info                                                                                  View Whois

      PhExXi.biz                                                                                   View Whois

      PhExXi.us                                                                                    View Whois


https://whois.domaintools.com/phexxi.com                                                                        3/4
     Case
12/10/2020    9:20-cv-82296-RAR DocumentPhExXi.com
                                          37 Entered      on FLSD
                                                   WHOIS, DNS, & DomainDocket    06/16/2021 Page 118 of 140
                                                                       Info - DomainTools




                                                                              
        Sitemap      Blog     Terms        Privacy   Contact   California Privacy Notice   Do Not Sell My Personal Information
                                                               © 2020 DomainTools




https://whois.domaintools.com/phexxi.com                                                                                         4/4
Case 9:20-cv-82296-RAR Document 37 Entered on FLSD Docket 06/16/2021 Page 119 of 140




                                              Exhibit I
Case 9:20-cv-82296-RAR Document 37 Entered on FLSD Docket 06/16/2021 Page 120 of 140




Reg. No. 6,201,656         Evofem Biosciences, Inc. (DELAWARE CORPORATION)
                           12400 High Bluff Drive
Registered Nov. 17, 2020   Suite 600
                           San Diego, CALIFORNIA 92130
Int. Cl.: 5                CLASS 5: Personal lubricant; personal sexual lubricants; pharmaceutical preparations,
                           namely, microbicidal that creates an inhospitable environment for spermatozoa;
Trademark                  pharmaceutical preparations, namely, microbicidal that creates an inhospitable environment
                           for viral and bacterial pathogens; pharmaceutical acid-buffering gel with bio adhesive
Principal Register         properties designed to maintain an optimal environment

                           FIRST USE 9-8-2020; IN COMMERCE 9-8-2020

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 88-596,085, FILED 08-28-2019
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          REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

       WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
              DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


       Requirements in the First Ten Years*
       What and When to File:


           • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th
             and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted,
              the registration will continue in force for the remainder of the ten-year period, calculated from the
              registration date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


           • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and
             an Application for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C.
              §1059.


       Requirements in Successive Ten-Year Periods*
       What and When to File:

           • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
             between every 9th and 10th-year period, calculated from the registration date.*

       Grace Period Filings*

       The above documents will be accepted as timely if filed within six months after the deadlines listed above
       with the payment of an additional fee.

       *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
       an extension of protection to the United States under the Madrid Protocol must timely file the Declarations of
       Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
       (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
       date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
       those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
       registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
       underlying international registration at the International Bureau of the World Intellectual Property
       Organization, under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of
       protection, calculated from the date of the international registration. See 15 U.S.C. §1141j. For more
       information and renewal forms for the international registration, see http://www.wipo.int/madrid/en/.

       NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
       USPTO website for further information. With the exception of renewal applications for registered
       extensions of protection, you can file the registration maintenance documents referenced above online
       at http://www.uspto.gov.

       NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
       owners/holders who authorize e-mail communication and maintain a current e-mail address with the
       USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
       Electronic Application System (TEAS) Correspondence Address and Change of Owner Address
       Forms available at http://www.uspto.gov.




                                                Page: 2 of 2 / RN # 6201656
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                                             Exhibit J
RAR Document 37 Entered on FLSD Docket 06/16/20




                   A NEW, FDA-APPROVED,
                   HORMONE-FREE
                   BIRTH CONTROL




                     $0 CO-PAY FOR YOUR
                     1ST PRESCRIPTION
                     See last page for details.




     Please see Prescribing Information, including
     Patient Information.
RAR Document 37 Entered on FLSD Docket 06/16/20




           Are you one of the millions of women who
          have said enough is enough to hormones?

           NOW, THERE’S PHEXXI™!

                  WHAT IS PHEXXI™?
     Phexxi™ is a prescription vaginal gel used to prevent
          pregnancy in females who choose to use an
        on-demand method of birth control. Phexxi™
       is only effective when used immediately before
      (or up to one hour before) each act of vaginal sex.
         It is not effective when used after vaginal sex.




               HOW PHEXXI™ WORKS
         Vaginas have a pH level that is inhospitable to
          sperm. When semen enters the vagina, the
          pH level is increased to help sperm survive.
         Phexxi™ works to maintain vaginal pH, which
          reduces the sperm’s mobility, lowering the
              chance of sperm reaching the egg.



     IMPORTANT SAFETY INFORMATION
     WHAT ARE THE POSSIBLE SIDE EFFECTS
     OF PHEXXI™?
     There have been a few cases of urinary bladder
     infection and kidney infection reported in clinical
     studies. One of the cases was serious. Avoid Phexxi™ if
     you have had repeated urinary tract infections or other
     urinary tract problems.
     Please see Prescribing Information, including
     Patient Information.
RAR Document 37 Entered on FLSD Docket 06/16/20




                PHEXXI™ IS QUICK
                AND EASY TO USE

        Phexxi™ is designed to be used in the moment
          and works immediately upon application.




                                          Not actual size.



                   PHEXXI™ PUTS YOU
                      IN CONTROL
        • Insertion of the Phexxi™ applicator is similar
          to inserting a tampon
        • Phexxi™ doesn’t have to be used alone.
           You can use it with condoms or diaphragms,
           but not with a vaginal ring
        • For your convenience, Phexxi™ comes
          in individually wrapped, single-dose applicators
        • Phexxi™ is effective up to 1 hour upon
           application. After 1 hour, an additional dose
           of Phexxi™ needs to be used before each
           act of sex
        Phexxi™ is not effective when used after
        vaginal sex.




     IMPORTANT SAFETY INFORMATION (CONT’D)
     WHAT ELSE SHOULD I KNOW ABOUT USING
     PHEXXI™?
     Phexxi™ does not protect against any sexually
     transmitted diseases, including HIV. Avoid using
     Phexxi™ with a vaginal ring.
     Please see Prescribing Information, including
     Patient Information.
RAR Document 37 Entered on FLSD Docket 06/16/20




                   Phexxi™ is FDA-approved


                PHEXXI™ HAS
            DEMONSTRATED THAT
              IT IS EFFECTIVE AT
           PREVENTING PREGNANCY

      Phexxi™ has not been associated with side effects
               such as blood clots or stroke.




               POSSIBLE SIDE EFFECTS
                   OF PHEXXI™
        There have been a few cases of urinary bladder
            infection and kidney infection reported in
          clinical studies. One of the cases was serious.
           Avoid Phexxi™ if you have repeated urinary
        tract infections or other urinary tract problems.




                See additional safety information
                   throughout the brochure.




     IMPORTANT SAFETY INFORMATION (CONT’D)
     WHAT ARE THE POSSIBLE SIDE EFFECTS
     OF PHEXXI™? (CONT’D)
     The most common side effects were vaginal burning,
     vaginal itching, vaginal yeast infection, urinary tract
     infection, vaginal area discomfort, bacterial vaginosis,
     and vaginal discharge. Women also reported genital
     discomfort, pain while urinating, and vaginal pain.
     Some male partners reported genital discomfort.
     Please see Prescribing Information, including
     Patient Information.
RAR Document 37 Entered on FLSD Docket 06/16/20
    pHABULOUS!
     Ask your healthcare
     provider if Phexxi™
     is right for you.




                      pHANTASTIC!
        SAVE WITH THE PHEXXI™ CO-PAY CARD



            Under the Affordable Care Act, Phexxi™
               may be available for $0 co-pay,
                 co-insurance, or deductible.



                                           Click here
                                           to access the
                                           co-pay card.




         Learn more at phexxi.com.


    IMPORTANT SAFETY INFORMATION (CONT’D)
    WHAT ELSE SHOULD I KNOW ABOUT USING
    PHEXXI™? (CONT’D)
    Contact your healthcare provider if you are experiencing
    severe genital irritation or discomfort or urinary tract
    symptoms. Avoid Phexxi™ if you or your sexual partner
    is allergic to lactic acid, citric acid, potassium bitartrate,
    or any of the ingredients in Phexxi™. Stop using
    Phexxi™ if you develop an allergic reaction.
    Please report side effects by contacting Evofem
    Biosciences® toll-free at 1-833-EVFMBIO or contact
    FDA at 1-800-FDA-1088 or www.fda.gov/medwatch.
    Please see Prescribing Information, including
    Patient Information.

                    Trademarks are owned by Evofem Biosciences.
                    © 2020 Evofem Biosciences.
                    EVFM-US-000634 • September 2020
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                                          Exhibit K
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PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 12/31/2020)


                                               Trademark/Service Mark Statement of Use
                                                     (15 U.S.C. Section 1051(d))


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             SERIAL NUMBER                                              88596085
             LAW OFFICE ASSIGNED                                        LAW OFFICE 110
             EXTENSION OF USE                                           NO
             MARK SECTION
             MARK                                                       mark
             LITERAL ELEMENT                                            PHEXXI
             STANDARD CHARACTERS                                        YES
             USPTO-GENERATED IMAGE                                      YES
                                                                        The mark consists of standard characters, without claim to any particular
             MARK STATEMENT
                                                                        font style, size or color.
             OWNER SECTION (current)
             NAME                                                       Evofem Biosciences, Inc.
             INTERNAL ADDRESS                                           Suite 600
             MAILING ADDRESS                                            12400 High Bluff Drive
             CITY                                                       San Diego
             STATE                                                      California
             ZIP/POSTAL CODE                                            92130
             STATE/COUNTRY/REGION/JURISDICTION/U.S.
                                                                        United States
             TERRITORY

             EMAIL                                                      XXXX
             OWNER SECTION (proposed)
             NAME                                                       Evofem Biosciences, Inc.
             INTERNAL ADDRESS                                           Suite 600
             MAILING ADDRESS                                            12400 High Bluff Drive
             CITY                                                       San Diego
             STATE                                                      California
             ZIP/POSTAL CODE                                            92130
             STATE/COUNTRY/REGION/JURISDICTION/U.S.
             TERRITORY
                                                                        United States

             EMAIL                                                      XXXX
             CORRESPONDENCE INFORMATION (current)




                                                                                                                                                             TXMD0012
Case 9:20-cv-82296-RAR Document 37 Entered on FLSD Docket 06/16/2021 Page 130 of 140


  NAME                                      Andrew D. Skale
  PRIMARY EMAIL ADDRESS FOR
                                            adskale@mintz.com
  CORRESPONDENCE

  SECONDARY EMAIL ADDRESS(ES) (COURTESY     jddib@mintz.com; ipdocketingbos@mintz.com; ACRomanini@mintz.com;
  COPIES)                                   Mintzdocketing@cpaglobal.com
  CORRESPONDENCE INFORMATION (proposed)
  NAME                                      Andrew D. Skale
  PRIMARY EMAIL ADDRESS FOR
                                            adskale@mintz.com
  CORRESPONDENCE

  SECONDARY EMAIL ADDRESS(ES) (COURTESY     jddib@mintz.com; ipdocketingbos@mintz.com; ACRomanini@mintz.com;
  COPIES)                                   Mintzdocketing@cpaglobal.com
  DOCKET/REFERENCE NUMBER                   054498412T01
  GOODS AND/OR SERVICES SECTION
  INTERNATIONAL CLASS                       005
                                            Personal lubricant; personal sexual lubricants; pharmaceutical preparations,
                                            namely, microbicidal that creates an inhospitable environment for
                                            spermatozoa; pharmaceutical preparations, namely, microbicidal that
  CURRENT IDENTIFICATION
                                            creates an inhospitable environment for viral and bacterial pathogens;
                                            pharmaceutical acid-buffering gel with bio adhesive properties designed to
                                            maintain an optimal environment
  GOODS OR SERVICES                         KEEP ALL LISTED
  FIRST USE ANYWHERE DATE                   09/08/2020
  FIRST USE IN COMMERCE DATE                09/08/2020
                                            \\TICRS\EXPORT18\IMAGEOUT 18\885\960\88596085\xml5 \
  SPECIMEN FILE NAME(S)
                                            SOU0002.JPG

                                            \\TICRS\EXPORT18\IMAGEOUT 18\885\960\88596085\xml5 \
                                            SOU0003.JPG
  SPECIMEN DESCRIPTION                      Product picture / packaging
  REQUEST TO DIVIDE                         NO
  PAYMENT SECTION
  NUMBER OF CLASSES IN USE                  1
  SUBTOTAL AMOUNT [ALLEGATION OF USE FEE]   100
  TOTAL AMOUNT                              100
  SIGNATURE SECTION
  DECLARATION SIGNATURE                     /Stewart M Brown/
  SIGNATORY'S NAME                          Stewart M Brown
  SIGNATORY'S POSITION                      Vice President & Deputy General Counsel
  DATE SIGNED                               09/08/2020
  SIGNATORY'S PHONE NUMBER                  858-261-0466
  FILING INFORMATION
  SUBMIT DATE                               Tue Sep 08 11:29:24 ET 2020
                                            USPTO/SOU-XXXX:XXX:XXXX:X
                                            XXX:XXXX:XXXX:XXXX:XXXX-2



                                                                                                                TXMD0012
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                                  0200908112924238559-88596
                                  085-7501e1ab824a189e41076
  TEAS STAMP
                                  a10d3a07fe21085baf39c2271
                                  eb4bdf9fd4b01f252a-DA-292
                                  30786-2020090808515443001
                                  2




                                                                            TXMD0012 0
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PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 12/31/2020)




                                                      Trademark/Service Mark Statement of Use
                                                            (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:
MARK: PHEXXI(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/88596085/large)
SERIAL NUMBER: 88596085


OWNER AND/OR ENTITY INFORMATION
The owner proposes to amend the following:
Current: Evofem Biosciences, Inc., having an address of
   Suite 600
   12400 High Bluff Drive
   San Diego, California 92130
   United States
   Email: XXXX
Proposed: Evofem Biosciences, Inc., having an address of
   Suite 600
   12400 High Bluff Drive
   San Diego, California 92130
   United States
   Phone:
   Email: XXXX

The owner is submitting the following allegation of use information:

For International Class 005:
Current identification: Personal lubricant; personal sexual lubricants; pharmaceutical preparations, namely, microbicidal that creates an
inhospitable environment for spermatozoa; pharmaceutical preparations, namely, microbicidal that creates an inhospitable environment for viral
and bacterial pathogens; pharmaceutical acid-buffering gel with bio adhesive properties designed to maintain an optimal environment

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 09/08/2020,
and first used in commerce at least as early as 09/08/2020, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) Product picture / packaging.
Specimen File1
Specimen File2


The applicant is not filing a Request to Divide with this Allegation of Use form.

Correspondence Information (current):
   Andrew D. Skale
   PRIMARY EMAIL FOR CORRESPONDENCE: adskale@mintz.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): jddib@mintz.com; ipdocketingbos@mintz.com;
ACRomanini@mintz.com; Mintzdocketing@cpaglobal.com

Correspondence Information (proposed):
   Andrew D. Skale
   PRIMARY EMAIL FOR CORRESPONDENCE: adskale@mintz.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): jddib@mintz.com; ipdocketingbos@mintz.com;
ACRomanini@mintz.com; Mintzdocketing@cpaglobal.com

The docket/reference number is 054498412T01.




                                                                                                                                                             TXMD0012 1
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Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).

A fee payment in the amount of $100 will be submitted with the form, representing payment for the allegation of use for 1 class.


                                                                  Declaration

        The signatory believes that the applicant is the owner of the mark sought to be registered.
        For a trademark or service mark application, the mark is in use in commerce on or in connection with all the goods/services in the
        application or notice of allowance, or as subsequently modified.
        For a collective trademark, collective service mark, collective membership mark application, the applicant is exercising legitimate
        control over the use of the mark in commerce by members on or in connection with all the goods/services/collective membership
        organization in the application or notice of allowance, or as subsequently modified.
        For a certification mark application, the applicant is exercising legitimate control over the use of the mark in commerce by authorized
        users on or in connection with the all goods/services in the application or notice of allowance, or as subsequently modified, and the
        applicant is not engaged in the production or marketing of the goods/services to which the mark is applied, except to advertise or
        promote recognition of the certification program or of the goods/services that meet the certification standards of the applicant.
        The specimen(s) shows the mark as used on or in connection with the goods/services/collective membership organization in commerce.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, authorized users, members, and/or
        concurrent users, have the right to use the mark in commerce, either in the identical form or in such near resemblance as to be likely,
        when used on or in connection with the goods/services/collective membership organization of such other persons, to cause confusion or
        mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
        resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
        belief are believed to be true.



Signature: /Stewart M Brown/      Date Signed: 09/08/2020
Signatory's Name: Stewart M Brown
Signatory's Position: Vice President & Deputy General Counsel
Signatory's Phone: 858-261-0466

RAM Sale Number: 88596085
RAM Accounting Date: 09/08/2020

Serial Number: 88596085
Internet Transmission Date: Tue Sep 08 11:29:24 ET 2020
TEAS Stamp: USPTO/SOU-XXXX:XXX:XXXX:XXXX:XXXX:XXXX:X
XXX:XXXX-20200908112924238559-88596085-7
501e1ab824a189e41076a10d3a07fe21085baf39
c2271eb4bdf9fd4b01f252a-DA-29230786-2020
0908085154430012




                                                                                                                                   TXMD0012 2
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                                                                            TXMD0012
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                                           Exhibit L
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               NDA 208352
                                                                                               NDA APPROVAL

               Evofem, Inc.
               Attention: Catherine Maher, Ph.D.
               Vice President, Regulatory Affairs
               12400 High Bluff Drive, Suite 600
               San Diego, CA 92130


               Dear Dr. Maher:

               Please refer to your new drug application (NDA) dated June 20, 2015, received July 2,
               2015, and your amendments, submitted pursuant to section 505(b)(2) of the Federal
               Food, Drug, and Cosmetic Act (FDCA) for Phexxi (lactic acid, citric acid, and potassium
               bitartrate) vaginal gel.

               We acknowledge receipt of your amendment dated November 25, 2019, which
               constituted a complete response to our April 28, 2016, action letter.

               This new drug application provides for the use of Phexxi (lactic acid, citric acid, and
               potassium bitartrate) vaginal gel for the prevention of pregnancy in females of
               reproductive potential for use as an on demand method of contraception.

               APPROVAL & LABELING

               We have completed our review of this application, as amended. It is approved, effective
               on the date of this letter, for use as recommended in the enclosed agreed-upon
               labeling.

               CONTENT OF LABELING

               As soon as possible, but no later than 14 days from the date of this letter, submit the
               content of labeling [21 CFR 314.50(l)] in structured product labeling (SPL) format using
               the FDA automated drug registration and listing system (eLIST), as described at
               FDA.gov. 1 Content of labeling must be identical to the enclosed labeling (text for the
               Prescribing Information, Patient Package Insert, and Instructions for Use) as well as
               annual reportable changes not included in the enclosed labeling. Information on
               submitting SPL files using eLIST may be found in the guidance for industry SPL
               Standard for Content of Labeling Technical Qs and As. 2
               1
                http://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/default.htm
               2
                We update guidances periodically. For the most recent version of a guidance, check the FDA Guidance
               Documents Database https://www.fda.gov/RegulatoryInformation/Guidances/default.htm.




Reference ID: 4613105                                                                                          TXMD000612
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               NDA 208352
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               The SPL will be accessible via publicly available labeling repositories.

               CARTON AND CONTAINER LABELING

               Submit final printed carton and container labeling that are identical to the enclosed
               carton and container labeling as soon as they are available, but no more than 30 days
               after they are printed. Please submit these labeling electronically according to the
               guidance for industry Providing Regulatory Submissions in Electronic Format — Certain
               Human Pharmaceutical Product Applications and Related Submissions Using the eCTD
               Specifications. For administrative purposes, designate this submission “Final Printed
               Carton and Container Labeling for approved NDA 208352.” Approval of this
               submission by FDA is not required before the labeling is used.

               REQUIRED PEDIATRIC ASSESSMENTS

               Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for
               new active ingredients (which includes new salts and new fixed combinations), new
               indications, new dosage forms, new dosing regimens, or new routes of administration
               are required to contain an assessment of the safety and effectiveness of the product for
               the claimed indication in pediatric patients unless this requirement is waived, deferred,
               or inapplicable.

               We are waiving the pediatric study requirement for premenarcheal females from birth to
               11 years and all males because necessary studies are impossible or highly
               impracticable. Extrapolation of adult data is acceptable for post-menarcheal adolescents
               through age 17 years.

               PROMOTIONAL MATERIALS

               You may request advisory comments on proposed introductory advertising and
               promotional labeling. For information about submitting promotional materials, see the
               final guidance for industry Providing Regulatory Submissions in Electronic and Non-
               Electronic Format—Promotional Labeling and Advertising Materials for Human
               Prescription Drugs. 3

               As required under 21 CFR 314.81(b)(3)(i), you must submit final promotional materials,
               and the Prescribing Information, at the time of initial dissemination or publication,
               accompanied by a Form FDA 2253. Form FDA 2253 is available at FDA.gov. 4
               Information and Instructions for completing the form can be found at FDA.gov. 5


               3
                 For the most recent version of a guidance, check the FDA guidance web page at
               https://www.fda.gov/media/128163/download.
               4
                 http://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Forms/UCM083570.pdf
               5
                 http://www.fda.gov/downloads/AboutFDA/ReportsManualsForms/Forms/UCM375154.pdf
               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 4613105                                                                               TXMD000613
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               NDA 208352
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               REPORTING REQUIREMENTS

               We remind you that you must comply with reporting requirements for an approved NDA
               (21 CFR 314.80 and 314.81).

               If you have any questions, call Kim Shiley, R.N., B.S.N., Regulatory Project Manager, at
               (301) 796-2117.

                                                   Sincerely,

                                                   {See appended electronic signature page}

                                                   Audrey Gassman, M.D.
                                                   Deputy Director
                                                   Division of Urology, Obstetrics, and Gynecology
                                                   Office of Rare Diseases, Pediatrics, Urologic, and
                                                   Reproductive Medicine
                                                   Center for Drug Evaluation and Research
               ENCLOSURES:
                 • Content of Labeling
                      o Prescribing Information
                      o Patient Package Insert
                      o Instructions for Use
                 • Carton and Container Labeling




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

Reference ID: 4613105                                                                                   TXMD000614
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                                                                                    Signature   140
                                                                                              Page 1 of 1

              --------------------------------------------------------------------------------------------
              This is a representation of an electronic record that was signed
              electronically. Following this are manifestations of any and all
              electronic signatures for this electronic record.
              --------------------------------------------------------------------------------------------
              /s/
              ------------------------------------------------------------

              AUDREY L GASSMAN
              05/22/2020 11:11:06 AM




(
    Reference ID: 4613105                                                                                    TXMD000615
